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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/891240863" data-vids="891240863" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;388 P.3d 868&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;2017 CO 9&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Julio VENALONZO&lt;/span&gt;&lt;/span&gt;, a/k/a &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Melvin Manzanares(z)&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;,&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;v.&lt;/b&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The PEOPLE of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;Supreme Court &lt;span class="ldml-cite"&gt;Case No. 11SC878&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;February 6, 2017&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="200" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="200" data-sentence-id="200" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Douglas K. Wilson&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Tracy C. Renner&lt;/span&gt;&lt;/span&gt;, Deputy &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;, Denver, Colorado&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="319" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="319" data-sentence-id="319" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Cynthia H. Coffman&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Majid Yazdi&lt;/span&gt;&lt;/span&gt;, Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, Denver, Colorado&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;h2 class="ldml-opinionheading"&gt;&lt;span data-paragraph-id="440" class="ldml-paragraph "&gt;&lt;span class="ldml-judgepanel"&gt;&lt;span data-paragraph-id="440" data-sentence-id="440" class="ldml-sentence"&gt;En Banc&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/h2&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="447" class="ldml-paragraph no-indent mt-4"&gt;&lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (BOATRIGHT, COATS)"&gt;&lt;span data-paragraph-id="447" data-sentence-id="447" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BOATRIGHT&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="500" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="500" data-sentence-id="500" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_500"&gt;&lt;span class="ldml-cite"&gt;¶1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; &lt;span class="ldml-entity"&gt;Julio Venalonzo&lt;/span&gt; was convicted of sexual assault on a child, attempted sexual assault on a child, possession of drug paraphernalia, and resisting arrest.&lt;/span&gt; &lt;span data-paragraph-id="500" data-sentence-id="667" class="ldml-sentence"&gt;Venalonzo appealed, and &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; affirmed in an unpublished opinion.&lt;/span&gt; &lt;span data-paragraph-id="500" data-sentence-id="748" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevvenalonzo,no07ca0882" data-prop-ids="sentence_748"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Venalonzo&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;No. 07CA0882&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, slip op. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_748"&gt;&lt;span class="ldml-cite"&gt;at 1&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2011 WL 4837489&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;Oct. 13, 2011&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="500" data-sentence-id="842" class="ldml-sentence"&gt;Here, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; determine whether a forensic interviewer who testified as a lay witness crossed the line between lay and expert testimony.&lt;/span&gt; &lt;span data-paragraph-id="500" data-sentence-id="974" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; also address whether the interviewer, &lt;span class="ldml-entity"&gt;the mother&lt;/span&gt; of one of the child victims, and an investigating police officer improperly testified that the child victims' accusations against Venalonzo were truthful.&lt;a href="#note-fr1" class="ldml-noteanchor" id="note-ref-fr1"&gt;1&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;p data-paragraph-id="1181" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="1181" data-sentence-id="1182" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1182"&gt;&lt;span class="ldml-cite"&gt;¶2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; First, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold that in determining whether testimony is lay testimony under &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1182"&gt;&lt;span class="ldml-cite"&gt;Colorado Rule of Evidence&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"CRE"&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt; 701 or expert testimony under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-vol="388" data-id="pagenumber_1344" data-val="871"&gt;&lt;/span&gt;court&lt;/span&gt; must look to the basis for the opinion.&lt;/span&gt; &lt;span data-paragraph-id="1181" data-sentence-id="1390" class="ldml-sentence"&gt;If the witness provides testimony that could be expected to be based on an ordinary person's experiences or knowledge, then the witness is offering lay testimony.&lt;/span&gt; &lt;span data-paragraph-id="1181" data-sentence-id="1553" class="ldml-sentence"&gt;If, on the other hand, the witness provides testimony that could not be offered without specialized experiences, knowledge, or training, then the witness is offering expert testimony.&lt;/span&gt; &lt;span data-paragraph-id="1181" data-sentence-id="1737" class="ldml-sentence"&gt;Applying that holding, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that some portions of the interviewer's testimony in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; were admissible as lay opinion but that others were inadmissible expert testimony in the guise of lay opinion.&lt;/span&gt; &lt;span data-paragraph-id="1181" data-sentence-id="1946" class="ldml-sentence"&gt;Second, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold that the interviewer's and &lt;span class="ldml-entity"&gt;the mother&lt;/span&gt;'s testimony improperly bolstered the credibility of the child victims by creating an impermissible inference that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were telling the truth in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1181" data-sentence-id="2156" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold that Venalonzo opened the door to the investigating officer's statements regarding what children lie about, and therefore &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; did not abuse its discretion in admitting those statements.&lt;/span&gt; &lt;span data-paragraph-id="1181" data-sentence-id="2371" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the errors in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; warrant reversal.&lt;/span&gt; &lt;span data-paragraph-id="1181" data-sentence-id="2439" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reverse &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;' judgment and remand &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; to that &lt;span class="ldml-entity"&gt;court&lt;/span&gt; with instructions to return &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; to &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; for further proceedings consistent with this opinion.&lt;a href="#note-fr2" class="ldml-noteanchor" id="note-ref-fr2"&gt;2&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-value="I. Facts and Procedural History" data-types="background" data-id="heading_2639" data-confidences="very_high" data-ordinal_end="1" data-ordinal_start="1" data-specifier="I" id="heading_2639" data-content-heading-label="I. Facts and Procedural History" data-format="upper_case_roman_numeral"&gt;&lt;span data-paragraph-id="2639" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="2639" data-sentence-id="2639" class="ldml-sentence"&gt;I.&lt;/span&gt; &lt;span data-paragraph-id="2639" data-sentence-id="2642" class="ldml-sentence"&gt;Facts and Procedural History&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="2670" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="2670" data-sentence-id="2670" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2670"&gt;&lt;span class="ldml-cite"&gt;¶3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Seven-year-old A.M. and eight-year-old C.O. told their respective parents that a man called them over to him while the children were playing in the hallway of their apartment complex and then touched A.M. sexually.&lt;/span&gt; &lt;span data-paragraph-id="2670" data-sentence-id="2888" class="ldml-sentence"&gt;Later that day, the two girls both made statements to the police, and, as a result of those statements, police arrested Venalonzo.&lt;/span&gt; &lt;span data-paragraph-id="2670" data-sentence-id="3019" class="ldml-sentence"&gt;During the course of the investigation, A.M. and C.O. also spoke with a child forensic interviewer, &lt;span class="ldml-entity"&gt;Ann Smith&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"the interviewer"&lt;/span&gt;)&lt;/span&gt;, at Sungate Children's Advocacy Center &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"the Advocacy Center"&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2670" data-sentence-id="3213" class="ldml-sentence"&gt;Both children also testified at trial.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="3251" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="3251" data-sentence-id="3251" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3251"&gt;&lt;span class="ldml-cite"&gt;¶4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The children never wavered in their account that a man called them over to him, and A.M. never wavered in her account that a man inappropriately touched her.&lt;/span&gt; &lt;span data-paragraph-id="3251" data-sentence-id="3412" class="ldml-sentence"&gt;There were, however, differences between A.M.'s and C.O.'s accounts.&lt;/span&gt; &lt;span data-paragraph-id="3251" data-sentence-id="3481" class="ldml-sentence"&gt;Specific details that varied included what the man who assaulted A.M. was wearing, what &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was doing with his hands before &lt;span class="ldml-entity"&gt;he&lt;/span&gt; touched A.M., where &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was standing, what &lt;span class="ldml-entity"&gt;he&lt;/span&gt; said to the children, how and from where &lt;span class="ldml-entity"&gt;he&lt;/span&gt; entered the building, to whom the children first told their story, and whether C.O. was present when the man assaulted A.M.&lt;/span&gt; &lt;span data-paragraph-id="3251" data-sentence-id="3820" class="ldml-sentence"&gt;Each child's own account also changed over time on these details.&lt;/span&gt; &lt;span data-paragraph-id="3251" data-sentence-id="3886" class="ldml-sentence"&gt;Moreover, A.M.'s story changed regarding where the man had touched her, including whether it was over or under her clothing, and what &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did before and after.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4044" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="4044" data-sentence-id="4044" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4044"&gt;&lt;span class="ldml-cite"&gt;¶5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Before trial, Venalonzo requested a summary of any expert or &lt;span class="ldml-quotation quote"&gt;"specialized knowledge"&lt;/span&gt; testimony.&lt;/span&gt; &lt;span data-paragraph-id="4044" data-sentence-id="4143" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; maintained that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; would not present any expert testimony, so &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; denied Venalonzo's request.&lt;/span&gt; &lt;span data-paragraph-id="4044" data-sentence-id="4262" class="ldml-sentence"&gt;Prior to and during trial, Venalonzo objected to portions of the interviewer's testimony that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; asserted were expert testimony.&lt;/span&gt; &lt;span data-paragraph-id="4044" data-sentence-id="4391" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; deferred its ruling on the objections that Venalonzo made prior to trial until it heard the interviewer's testimony.&lt;/span&gt; &lt;span data-paragraph-id="4044" data-sentence-id="4524" class="ldml-sentence"&gt;At trial, the interviewer began by testifying about the interviewing process that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; used, her training, and her experience interviewing children.&lt;/span&gt; &lt;span data-paragraph-id="4044" data-sentence-id="4672" class="ldml-sentence"&gt;Venalonzo objected to this background, arguing that it called for expert testimony.&lt;/span&gt; &lt;span data-paragraph-id="4044" data-sentence-id="4756" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; called a bench conference, during which Venalonzo's defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; renewed his objection to the interviewer's anticipated testimony about A.M.'s and C.O.'s behavior during the interview.&lt;/span&gt; &lt;span data-paragraph-id="4044" data-sentence-id="4960" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; argued that relating and interpreting the demeanor and language of the children during the forensic interviews—as well as discussing whether the children's behavior was common or uncommon as compared with other victims of sexual abuse—was expert testimony and that such testimony amounted to statements that the children were telling the truth in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="5320" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="5320" data-sentence-id="5320" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5320"&gt;&lt;span class="ldml-cite"&gt;¶6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; After the bench conference, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; declined to require &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; to qualify the interviewer as an expert and ruled that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-vol="388" data-id="pagenumber_5451" data-val="872"&gt;&lt;/span&gt;would be allowed to answer &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s questions as long as &lt;span class="ldml-entity"&gt;she&lt;/span&gt; did not comment on the children's veracity.&lt;/span&gt; &lt;span data-paragraph-id="5320" data-sentence-id="5560" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; did, however, allow the interviewer to testify about whether A.M.'s and C.O.'s behavior during their interviews was common among children whom &lt;span class="ldml-entity"&gt;she&lt;/span&gt; previously interviewed.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="5740" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="5740" data-sentence-id="5740" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5740"&gt;&lt;span class="ldml-cite"&gt;¶7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; After this ruling, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; continued their direct examination.&lt;/span&gt; &lt;span data-paragraph-id="5740" data-sentence-id="5809" class="ldml-sentence"&gt;Venalonzo then specifically objected that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; were attempting to elicit expert testimony that bolstered A.M.'s and C.O.'s credibility when &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; asked the interviewer to provide the following information: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; how many children the interviewer had forensically interviewed with the Advocacy Center; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; how many children the interviewer ultimately determined had not been abused; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; how many times the interviewer had testified in &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; of law; &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; whether children commonly tell other children about abuse before telling adults; &lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; whether children typically say different things to the interviewer than &lt;span class="ldml-entity"&gt;they&lt;/span&gt; do to responding officers or &lt;span class="ldml-entity"&gt;Department of Human Services&lt;/span&gt; workers, or when testifying at trial; &lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt; whether specific details on which the children's stories differed—such as whether C.O. was present when A.M. was assaulted—were core or peripheral; &lt;span class="ldml-parenthetical"&gt;(7)&lt;/span&gt; what &lt;span class="ldml-quotation quote"&gt;"reproduction"&lt;/span&gt;—whereby child victims demonstrate inappropriate touching on their own bodies—is; &lt;span class="ldml-parenthetical"&gt;(8)&lt;/span&gt; how A.M. &lt;span class="ldml-quotation quote"&gt;"reproduced"&lt;/span&gt; the event in question; &lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt; why forensic interviewers look for signs of reproduction; and &lt;span class="ldml-parenthetical"&gt;(10)&lt;/span&gt; whether forensic interviews sometimes lead to charges being dropped.&lt;/span&gt; &lt;span data-paragraph-id="5740" data-sentence-id="6976" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; allowed the interviewer to answer all of these questions except for two: the question regarding the gestures A.M. used to reproduce the event, ruling that this evidence was cumulative because the jury would witness A.M.'s actions when it watched the videotaped interview, and the question regarding why interviewers look for signs of reproduction, ruling that this called for expert testimony.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="7385" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="7385" data-sentence-id="7385" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7385"&gt;&lt;span class="ldml-cite"&gt;¶8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Venalonzo also objected to the testimony from two other witnesses: A.M.'s &lt;span class="ldml-entity"&gt;mother&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt; and the investigating police officer.&lt;/span&gt; &lt;span data-paragraph-id="7385" data-sentence-id="7518" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; called &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; to testify about A.M.'s outcry.&lt;/span&gt; &lt;span data-paragraph-id="7385" data-sentence-id="7575" class="ldml-sentence"&gt;During her testimony, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; said that A.M. had never accused anyone else of touching her inappropriately and that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; did not know of any reason for A.M. to make up such a story, stating further, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;She&lt;/span&gt; wouldn't unless it was true."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="7385" data-sentence-id="7804" class="ldml-sentence"&gt;To support this position, &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; asked her to testify about the signs that reveal when her daughter is lying.&lt;/span&gt; &lt;span data-paragraph-id="7385" data-sentence-id="7922" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; did so, and &lt;span class="ldml-entity"&gt;she&lt;/span&gt; testified that A.M. had exhibited none of those signs when reporting the alleged assault that gave rise to &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7385" data-sentence-id="8063" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; stated that A.M.'s mind &lt;span class="ldml-quotation quote"&gt;"wouldn't go to &lt;span class="ldml-parenthetical"&gt;[the]&lt;/span&gt; level"&lt;/span&gt; of falsely accusing someone of sexual assault.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="8175" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="8175" data-sentence-id="8175" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8175"&gt;&lt;span class="ldml-cite"&gt;¶9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The investigating police officer also testified.&lt;/span&gt; &lt;span data-paragraph-id="8175" data-sentence-id="8227" class="ldml-sentence"&gt;On direct examination, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; told the jury about his interviews with A.M. and C.O. on the day of the incident.&lt;/span&gt; &lt;span data-paragraph-id="8175" data-sentence-id="8335" class="ldml-sentence"&gt;During cross-examination, the officer agreed with defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; that, based on his prior experience as a school teacher, young children were suggestible and sometimes made up stories or could be talked into doing so by other children.&lt;/span&gt; &lt;span data-paragraph-id="8175" data-sentence-id="8572" class="ldml-sentence"&gt;On redirect, &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; asked the officer to clarify what types of stories children tended to make up.&lt;/span&gt; &lt;span data-paragraph-id="8175" data-sentence-id="8679" class="ldml-sentence"&gt;Venalonzo objected, asserting that the testimony would constitute improper bolstering, but &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; ruled that Venalonzo had opened the door to the question.&lt;/span&gt; &lt;span data-paragraph-id="8175" data-sentence-id="8844" class="ldml-sentence"&gt;The officer responded that children make up stories about &lt;span class="ldml-quotation quote"&gt;"trivial things"&lt;/span&gt; but that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had never experienced children of the victim's age &lt;span class="ldml-quotation quote"&gt;"making things up ... about something of a very serious nature."&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="9046" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="9046" data-sentence-id="9046" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9046"&gt;&lt;span class="ldml-cite"&gt;¶10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Ultimately, the jury returned guilty verdicts on both the sexual assault and the attempted sexual assault charges, and &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; sentenced Venalonzo to an indeterminate prison sentence of three years to life for sexual assault on a child and a consecutive two-year prison sentence for attempted sexual assault on a child.&lt;/span&gt; &lt;span data-paragraph-id="9046" data-sentence-id="9378" class="ldml-sentence"&gt;Venalonzo appealed, arguing that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred when it admitted the interviewer's testimony because &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; had not endorsed her as an expert witness and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; her testimony amounted to an opinion that A.M. and C.O. were telling the truth.&lt;/span&gt; &lt;span data-paragraph-id="9046" data-sentence-id="9631" class="ldml-sentence"&gt;Additionally, Venalonzo argued that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred when it allowed &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; and the investigating police officer to offer what amounted to testimony that A.M. and C.O. were telling the truth.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="9827" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="9827" data-sentence-id="9827" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9827"&gt;&lt;span class="ldml-cite"&gt;¶11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The court of appeals&lt;/span&gt; affirmed &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s rulings&lt;/span&gt; on all issues.&lt;/span&gt; &lt;span data-paragraph-id="9827" data-sentence-id="9902" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; held that the interviewer's testimony about her &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-vol="388" data-id="pagenumber_9960" data-val="873"&gt;&lt;/span&gt;qualifications and training was basic information within the scope of lay opinion testimony.&lt;/span&gt; &lt;span data-paragraph-id="9827" data-sentence-id="10053" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevvenalonzo,no07ca0882" data-prop-ids="sentence_10053"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Venalonzo&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, slip op. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10053"&gt;&lt;span class="ldml-cite"&gt;at 9–10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9827" data-sentence-id="10082" class="ldml-sentence"&gt;Relying on &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887674578" data-vids="887674578" class="ldml-reference" data-prop-ids="sentence_10082"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Tillery&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;231 P.3d 36&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2009&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; also noted that the interviewer's testimony comparing the children's interviews in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; to typical child victim interviews &lt;span class="ldml-quotation quote"&gt;"was derived from her &lt;span class="ldml-quotation quote"&gt;‘years of observing such interviews,’&lt;/span&gt; not from specialized training."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9827" data-sentence-id="10373" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10082"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Venalonzo&lt;/span&gt;, slip op.&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887674578" data-vids="887674578" class="ldml-reference" data-prop-ids="sentence_10082"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Tillery&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;231 P.3d at 42&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9827" data-sentence-id="10435" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court of appeals&lt;/span&gt; then held that &lt;span class="ldml-quotation quote"&gt;"the interviewer gave no opinion on whether A.M. and C.O. told the truth in their interviews,"&lt;/span&gt; and it stated that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he likelihood that the jury could infer from the interviewer's testimony that the girls' accounts were credible does not mean the interviewer expressed that assessment."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9827" data-sentence-id="10759" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10435"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt; at 15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9827" data-sentence-id="10770" class="ldml-sentence"&gt;Rather, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; held that the interviewer's testimony was admissible because it &lt;span class="ldml-quotation quote"&gt;"spoke to the general characteristics of child victim interviews, which helped the jury assess the girls' credibility."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9827" data-sentence-id="10972" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10770"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="10975" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="10975" data-sentence-id="10975" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10975"&gt;&lt;span class="ldml-cite"&gt;¶12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The court of appeals&lt;/span&gt; concluded further that the interviewer's testimony was helpful because &lt;span class="ldml-quotation quote"&gt;"it informed the jury that the inconsistencies in children's relation of events are common."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="10975" data-sentence-id="11164" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10975"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="10975" data-sentence-id="11168" class="ldml-sentence"&gt;It noted that Venalonzo had opened the door to this testimony in his opening statement by suggesting that the children's inconsistent stories meant that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were lying, and that the interviewer's testimony properly responded to that attack on their credibility.&lt;/span&gt; &lt;span data-paragraph-id="10975" data-sentence-id="11431" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11168"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="10975" data-sentence-id="11435" class="ldml-sentence"&gt;Finally, it held that the interviewer properly testified that forensic interviews sometimes result in exonerating suspects because the interviewer was responding to Venalonzo's implication during cross-examination that the interviewer and the organization &lt;span class="ldml-entity"&gt;she&lt;/span&gt; worked for were biased in favor of law enforcement.&lt;/span&gt; &lt;span data-paragraph-id="10975" data-sentence-id="11747" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11435"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt; at 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="11757" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="11757" data-sentence-id="11757" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11757"&gt;&lt;span class="ldml-cite"&gt;¶13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The court of appeals&lt;/span&gt; also rejected Venalonzo's arguments regarding &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; and the investigating police officer.&lt;/span&gt; &lt;span data-paragraph-id="11757" data-sentence-id="11873" class="ldml-sentence"&gt;As to &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;, it held that her testimony went to A.M.'s sophistication and general characteristics for truthfulness.&lt;/span&gt; &lt;span data-paragraph-id="11757" data-sentence-id="11990" class="ldml-sentence"&gt;In doing so, &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; stated that &lt;span class="ldml-entity"&gt;trial courts&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"may admit opinion testimony about the general credibility of a child sex assault victim if it will &lt;span class="ldml-quotation quote"&gt;‘assist the jury in evaluating the credibility of the testifying child &lt;span class="ldml-parenthetical"&gt;[victim]&lt;/span&gt;’&lt;/span&gt; and if it relates to general characteristics for truthfulness."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11757" data-sentence-id="12294" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11990"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt; at 11–12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894205822" data-vids="894205822" class="ldml-reference" data-prop-ids="sentence_11990"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Woertman&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;786 P.2d 443, 447&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-cert"&gt;&lt;span class="ldml-underline"&gt;rev'd on other grounds&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895645949" data-vids="895645949" class="ldml-reference" data-prop-ids="sentence_11990"&gt;&lt;span class="ldml-cite"&gt;804 P.2d 188&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11757" data-sentence-id="12426" class="ldml-sentence"&gt;It also noted that &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; never explicitly testified that A.M. was telling the truth and that, in any event, Venalonzo had opened the door by implying on cross-examination that A.M. had been following C.O.'s lead when &lt;span class="ldml-entity"&gt;she&lt;/span&gt; made up the allegations.&lt;/span&gt; &lt;span data-paragraph-id="11757" data-sentence-id="12673" class="ldml-sentence"&gt;As to the officer, it held that his testimony regarding what types of things children make up stories about was proper.&lt;/span&gt; &lt;span data-paragraph-id="11757" data-sentence-id="12793" class="ldml-sentence"&gt;According to &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;, Venalonzo opened the door to this testimony, and it was relevant because it &lt;span class="ldml-quotation quote"&gt;"helped the jury &lt;span class="ldml-quotation quote"&gt;‘make a more informed decision in evaluating the credibility of a testifying child.’&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11757" data-sentence-id="13008" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12793"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt; at 14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888019518" data-vids="888019518" class="ldml-reference" data-prop-ids="sentence_12793"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Koon&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;713 P.2d 410, 411&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11757" data-sentence-id="13082" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court of appeals&lt;/span&gt; rejected all of Venalonzo's remaining arguments.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="13151" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="13151" data-sentence-id="13151" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13151"&gt;&lt;span class="ldml-cite"&gt;¶14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; granted Venalonzo's petition for certiorari.&lt;/span&gt; &lt;span data-paragraph-id="13151" data-sentence-id="13203" class="ldml-sentence"&gt;Ultimately, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reverse the convictions.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-value="II. Standard of Review" data-types="standardofreview" data-id="heading_13242" data-confidences="very_high" data-ordinal_end="2" data-ordinal_start="2" data-specifier="II" id="heading_13242" data-content-heading-label="II. Standard of Review" data-format="upper_case_roman_numeral"&gt;&lt;span data-paragraph-id="13242" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="13242" data-sentence-id="13242" class="ldml-sentence"&gt;II.&lt;/span&gt; &lt;span data-paragraph-id="13242" data-sentence-id="13246" class="ldml-sentence"&gt;Standard of Review&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="13264" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13264" data-sentence-id="13265" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13265"&gt;&lt;span class="ldml-cite"&gt;¶15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; review &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt;'s evidentiary decisions for an abuse of discretion.&lt;/span&gt; &lt;span data-paragraph-id="13264" data-sentence-id="13345" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885883480" data-vids="885883480" class="ldml-reference" data-prop-ids="sentence_13265"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Stewart&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;55 P.3d 107, 122&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2002&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13264" data-sentence-id="13395" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A trial court&lt;/span&gt; abuses its discretion when its ruling is manifestly arbitrary, unreasonable, or unfair.&lt;/span&gt; &lt;span data-paragraph-id="13264" data-sentence-id="13497" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885883480" data-vids="885883480" class="ldml-reference" data-prop-ids="sentence_13395"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-value="III. Analysis" data-types="analysis" data-id="heading_13500" data-confidences="very_high" data-ordinal_end="3" data-ordinal_start="3" data-specifier="III" id="heading_13500" data-content-heading-label="III. Analysis" data-format="upper_case_roman_numeral"&gt;&lt;span data-paragraph-id="13500" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="13500" data-sentence-id="13500" class="ldml-sentence"&gt;III.&lt;/span&gt; &lt;span data-paragraph-id="13500" data-sentence-id="13505" class="ldml-sentence"&gt;Analysis&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="13513" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="13513" data-sentence-id="13513" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13513"&gt;&lt;span class="ldml-cite"&gt;¶16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; first consider Venalonzo's contention that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in admitting the interviewer's testimony without requiring that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; endorse her as an expert witness.&lt;/span&gt; &lt;span data-paragraph-id="13513" data-sentence-id="13694" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold that in determining whether testimony is lay testimony under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; or expert testimony under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; must look to the basis for the opinion.&lt;/span&gt; &lt;span data-paragraph-id="13513" data-sentence-id="13862" class="ldml-sentence"&gt;If the witness provides testimony that could be expected to be based on an ordinary person's experiences or knowledge, then the witness is offering lay testimony.&lt;/span&gt; &lt;span data-paragraph-id="13513" data-sentence-id="14025" class="ldml-sentence"&gt;If, on the other hand, the witness provides testimony that could not be offered without specialized experiences, knowledge, or training, then the witness is offering expert testimony.&lt;/span&gt; &lt;span data-paragraph-id="13513" data-sentence-id="14209" class="ldml-sentence"&gt;Applying that holding, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that some portions of the interviewer's testimony in &lt;span class="ldml-entity"&gt;this &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-vol="388" data-id="pagenumber_14302" data-val="874"&gt;&lt;/span&gt;case&lt;/span&gt; were admissible as lay opinion but that others were inadmissible expert testimony in the guise of lay opinion.&lt;/span&gt; &lt;span data-paragraph-id="13513" data-sentence-id="14418" class="ldml-sentence"&gt;Second, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; consider Venalonzo's argument that the interviewer's, &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s, and the investigating officer's testimony violated the rule against testimony that a witness is telling the truth in a specific instance.&lt;/span&gt; &lt;span data-paragraph-id="13513" data-sentence-id="14631" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold that the interviewer's and &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s testimony improperly bolstered A.M.'s and C.O.'s credibility by creating an impermissible inference that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were telling the truth in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13513" data-sentence-id="14822" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold that Venalonzo opened the door to the investigating officer's statements regarding what children lie about, and therefore &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; did not abuse its discretion in admitting those statements.&lt;/span&gt; &lt;span data-paragraph-id="13513" data-sentence-id="15037" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the errors in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; warrant reversal.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="1" data-ordinal_end="1" data-id="heading_15104" data-parsed="true" data-value="A. Expert Testimony" data-specifier="A" id="heading_15104" data-content-heading-label="A. Expert Testimony" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="15104" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="15104" data-sentence-id="15104" class="ldml-sentence"&gt;A.&lt;/span&gt; &lt;span data-paragraph-id="15104" data-sentence-id="15107" class="ldml-sentence"&gt;Expert Testimony&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-ordinal_start="1" data-ordinal_end="1" data-id="heading_15123" data-parsed="true" data-value="1. Law" data-specifier="1" id="heading_15123" data-content-heading-label="1. Law" data-format="number"&gt;&lt;span data-paragraph-id="15123" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="15123" data-sentence-id="15123" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-paragraph-id="15123" data-sentence-id="15126" class="ldml-sentence"&gt;Law&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="15129" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15129" data-sentence-id="15130" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15130"&gt;&lt;span class="ldml-cite"&gt;¶17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Whether a witness's testimony is lay or expert depends on the facts and surrounding circumstances of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"requires &lt;span class="ldml-entity"&gt;a case&lt;/span&gt;-by-case analysis of both the witness and the witness's opinion."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="15129" data-sentence-id="15330" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887986041" data-vids="887986041" class="ldml-reference" data-prop-ids="sentence_15130"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;United States v. Smith&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;591 F.3d 974, 982–83&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;8th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;2010&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15129" data-sentence-id="15392" class="ldml-sentence"&gt;To make this determination, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must start with the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15392"&gt;&lt;span class="ldml-cite"&gt;Colorado Rules of Evidence&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="15470" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="15470" data-sentence-id="15470" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15470"&gt;&lt;span class="ldml-cite"&gt;¶18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Together, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 701 and 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; distinguish lay testimony from expert testimony.&lt;/span&gt; &lt;span data-paragraph-id="15470" data-sentence-id="15549" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; defines the scope of lay witness opinion testimony.&lt;/span&gt; &lt;span data-paragraph-id="15470" data-sentence-id="15609" class="ldml-sentence"&gt;It provides that lay witness testimony in the form of opinions or inferences must be &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; rationally based on the perception of the witness, &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; helpful to a clear understanding of the witness'&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt; testimony or the determination of a fact in issue, and &lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt; not based on scientific, technical, or other specialized knowledge within the scope of &lt;span class="ldml-parenthetical"&gt;[CRE]&lt;/span&gt; 702."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="15470" data-sentence-id="15964" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, on the other hand, concerns the admissibility of expert testimony.&lt;/span&gt; &lt;span data-paragraph-id="15470" data-sentence-id="16040" class="ldml-sentence"&gt;Under this rule, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[i]&lt;/span&gt;f scientific, technical, or other specialized knowledge will assist the trier of fact to understand the evidence or to determine a fact in issue, a witness qualified as an expert by knowledge, skill, experience, training, or education, may testify thereto in the form of an opinion or otherwise."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="15470" data-sentence-id="16358" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16040"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="16366" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="16366" data-sentence-id="16366" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16366"&gt;&lt;span class="ldml-cite"&gt;¶19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Previously, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; considered this distinction between lay and expert testimony in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885883480" data-vids="885883480" class="ldml-reference" data-prop-ids="sentence_16366"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Stewart&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16366" data-sentence-id="16458" class="ldml-sentence"&gt;There, a police officer testified about his training in investigating and reconstructing traffic accidents, his observations and reconstruction of the crime scene at issue in &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;, and the inferences &lt;span class="ldml-entity"&gt;he&lt;/span&gt; drew from the reconstruction.&lt;/span&gt; &lt;span data-paragraph-id="16366" data-sentence-id="16695" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885883480" data-vids="885883480" class="ldml-reference" data-prop-ids="sentence_16458"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Stewart&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;55 P.3d at 122–23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16366" data-sentence-id="16723" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; held that the officer's testimony about his observations of the crime scene and his investigation of the incident were admissible as lay opinion testimony.&lt;/span&gt; &lt;span data-paragraph-id="16366" data-sentence-id="16882" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885883480" data-vids="885883480" class="ldml-reference" data-prop-ids="sentence_16723"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt; at 124&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16366" data-sentence-id="16894" class="ldml-sentence"&gt;His &lt;span class="ldml-quotation quote"&gt;"deductions about ... the vehicle's direction, position, and speed"&lt;/span&gt; during the accident, however, required specialized training and knowledge and were therefore expert testimony.&lt;/span&gt; &lt;span data-paragraph-id="16366" data-sentence-id="17077" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885883480" data-vids="885883480" class="ldml-reference" data-prop-ids="sentence_16894"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="16366" data-sentence-id="17081" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; concluded that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; abused its discretion in admitting the investigating police officer's accident reconstruction testimony without requiring that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; be qualified as an expert.&lt;/span&gt; &lt;span data-paragraph-id="16366" data-sentence-id="17285" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885883480" data-vids="885883480" class="ldml-reference" data-prop-ids="sentence_17081"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="17288" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="17288" data-sentence-id="17288" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17288"&gt;&lt;span class="ldml-cite"&gt;¶20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Similarly, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893421592" data-vids="893421592" class="ldml-reference" data-prop-ids="sentence_17288"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Veren&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;140 P.3d 131, 139–40&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; considered whether a police officer's testimony that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; suspected &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; of manufacturing methamphetamine solely because &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; possessed a large amount of Sudafed was expert testimony.&lt;/span&gt; &lt;span data-paragraph-id="17288" data-sentence-id="17582" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; held that this was improper expert testimony in the guise of lay opinion because it required specialized knowledge.&lt;/span&gt; &lt;span data-paragraph-id="17288" data-sentence-id="17708" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893421592" data-vids="893421592" class="ldml-reference" data-prop-ids="sentence_17582"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt; at 139&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17288" data-sentence-id="17720" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court of appeals&lt;/span&gt; reasoned that while ordinary &lt;span class="ldml-entity"&gt;people&lt;/span&gt; might know that Sudafed contains an ingredient that can be used to manufacture methamphetamine, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; probably would not know how much Sudafed would be required for this purpose.&lt;/span&gt; &lt;span data-paragraph-id="17288" data-sentence-id="17955" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893421592" data-vids="893421592" class="ldml-reference" data-prop-ids="sentence_17720"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="17288" data-sentence-id="17959" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court of appeals&lt;/span&gt; noted that &lt;span class="ldml-quotation quote"&gt;"the only persons having such knowledge would be those who are either actually involved in the sale of illegal substances, or those who are involved in law enforcement's effort to curb such sales."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="17288" data-sentence-id="18189" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893421592" data-vids="893421592" class="ldml-reference" data-prop-ids="sentence_17959"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894017014" data-vids="894017014" class="ldml-reference" data-prop-ids="sentence_17959"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;State v. Rothlisberger&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;95 P.3d 1193, 1200 n.5&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Utah App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2004&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17288" data-sentence-id="18268" class="ldml-sentence"&gt;Therefore, &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893421592" data-vids="893421592" class="ldml-reference" data-prop-ids="sentence_18268"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Veren&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; court&lt;/span&gt; held that the officer's testimony was expert testimony because, without specialized knowledge and training, the officer would not have been able to infer based on the facts that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; observed that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; intended to manufacture and sell methamphetamine.&lt;/span&gt; &lt;span data-paragraph-id="17288" data-sentence-id="18554" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18554"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-vol="388" data-id="pagenumber_18557" data-val="875"&gt;&lt;/span&gt;¶21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; While &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; has addressed the line between lay and expert testimony in the context of police officers, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have not done so for forensic interviewers.&lt;/span&gt; &lt;span data-paragraph-id="17288" data-sentence-id="18716" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;case law&lt;/span&gt; from other jurisdictions is informative.&lt;/span&gt; &lt;span data-paragraph-id="17288" data-sentence-id="18772" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888272119" data-vids="888272119" class="ldml-reference" data-prop-ids="sentence_18772"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;State v. Gonzalez&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;150 N.H. 74&lt;/span&gt;, &lt;span class="ldml-cite"&gt;834 A.2d 354&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2003&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, is particularly relevant to our inquiry here.&lt;/span&gt; &lt;span data-paragraph-id="17288" data-sentence-id="18871" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888272119" data-vids="888272119" class="ldml-reference" data-prop-ids="sentence_18871"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Gonzalez&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;New Hampshire Supreme Court&lt;/span&gt; addressed a social worker's testimony that victim recantations or denials are not unusual in sexual abuse &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17288" data-sentence-id="19029" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888272119" data-vids="888272119" class="ldml-reference" data-prop-ids="sentence_18871"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt; at 358&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17288" data-sentence-id="19041" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecutor&lt;/span&gt; first asked the social worker whether &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had received any training or education about sexual abuse allegations, and then asked whether recantations are unusual in sexual abuse &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17288" data-sentence-id="19240" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888272119" data-vids="888272119" class="ldml-reference" data-prop-ids="sentence_19041"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt; at 356&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17288" data-sentence-id="19252" class="ldml-sentence"&gt;The social worker responded that recantations are not unusual.&lt;/span&gt; &lt;span data-paragraph-id="17288" data-sentence-id="19315" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888272119" data-vids="888272119" class="ldml-reference" data-prop-ids="sentence_19252"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="17288" data-sentence-id="19319" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; held that the witness's statements concerning &lt;span class="ldml-quotation quote"&gt;"a child's delayed disclosure of abuse, inconsistent statements about abuse, and recantation of statements about abuse"&lt;/span&gt; constituted expert testimony because those behaviors &lt;span class="ldml-quotation quote"&gt;"may be puzzling or appear counterintuitive to lay observers when &lt;span class="ldml-entity"&gt;they&lt;/span&gt; consider the suffering endured by a child who is continually being abused."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="17288" data-sentence-id="19695" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888272119" data-vids="888272119" class="ldml-reference" data-prop-ids="sentence_19319"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt; at 358&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890311020" data-vids="890311020" class="ldml-reference" data-prop-ids="sentence_19319"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;State v. Cressey&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;137 N.H. 402&lt;/span&gt;, &lt;span class="ldml-cite"&gt;628 A.2d 696, 702&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17288" data-sentence-id="19775" class="ldml-sentence"&gt;In other words, the testimony was improper because an ordinary person would not know that children commonly delay disclosing abuse.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="19906" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="19906" data-sentence-id="19907" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19907"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As &lt;span class="ldml-entity"&gt;these cases&lt;/span&gt; illustrate, the critical factor in distinguishing between lay and expert testimony is the basis for the witness's opinion.&lt;/span&gt; &lt;span data-paragraph-id="19906" data-sentence-id="20049" class="ldml-sentence"&gt;That is, the proper inquiry is not whether a witness draws on her personal experiences to inform her testimony; all witnesses rely on their personal experience when testifying.&lt;/span&gt; &lt;span data-paragraph-id="19906" data-sentence-id="20226" class="ldml-sentence"&gt;Rather, it is the nature of the experiences that could form the opinion's basis that determines whether the testimony is lay or expert opinion.&lt;/span&gt; &lt;span data-paragraph-id="19906" data-sentence-id="20370" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-underline"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/span&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885883480" data-vids="885883480" class="ldml-reference" data-prop-ids="sentence_20226"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Stewart&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;55 P.3d at 123&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-underline"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/span&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886281506" data-vids="886281506" class="ldml-reference" data-prop-ids="embeddedsentence_20463,sentence_20226"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Souva&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;141 P.3d 845, 849&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;concluding that an eye witness who happens to be a certified addictions counselor may offer lay testimony about whether &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; appeared to be under the influence of drugs at the time &lt;span class="ldml-entity"&gt;she&lt;/span&gt; observed him&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19906" data-sentence-id="20672" class="ldml-sentence"&gt;To determine whether the testimony in question is testimony that an ordinary person could give, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;courts&lt;/span&gt; consider whether ordinary citizens can be expected to know certain information or to have had certain experiences."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19906" data-sentence-id="20892" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887338212" data-vids="887338212" class="ldml-reference" data-prop-ids="sentence_20672"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Rincon&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;140 P.3d 976, 982&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893632146" data-vids="893632146" class="ldml-reference" data-prop-ids="sentence_20672"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;United States v. McDonald&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;933 F.2d 1519, 1522&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;10th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19906" data-sentence-id="21021" class="ldml-sentence"&gt;Expert testimony, by contrast, is that which goes beyond the realm of common experience and requires experience, skills, or knowledge that the ordinary person would not have.&lt;/span&gt; &lt;span data-paragraph-id="19906" data-sentence-id="21196" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-underline"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/span&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895049635" data-vids="895049635" class="ldml-reference" data-prop-ids="sentence_21021"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;James River Ins. Co. v. Rapid Funding, LLC&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;658 F.3d 1207, 1214&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;10th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;2011&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="21281" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="21281" data-sentence-id="21281" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21281"&gt;&lt;span class="ldml-cite"&gt;¶23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Hence, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold that in determining whether testimony is lay testimony under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; or expert testimony under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; must look to the basis for the opinion.&lt;/span&gt; &lt;span data-paragraph-id="21281" data-sentence-id="21460" class="ldml-sentence"&gt;If the witness provides testimony that could be expected to be based on an ordinary person's experiences or knowledge, then the witness is offering lay testimony.&lt;/span&gt; &lt;span data-paragraph-id="21281" data-sentence-id="21623" class="ldml-sentence"&gt;If, on the other hand, the witness provides testimony that could not be offered without specialized experiences, knowledge, or training, then the witness is offering expert testimony.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="21806" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="21806" data-sentence-id="21806" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21806"&gt;&lt;span class="ldml-cite"&gt;¶24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; This distinction can be a difficult one, and because it requires &lt;span class="ldml-entity"&gt;trial courts&lt;/span&gt; to engage in fact-specific analyses in the course of trial, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review their conclusions for an abuse of discretion.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="22003" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="22003" data-sentence-id="22003" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22003"&gt;&lt;span class="ldml-cite"&gt;¶25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; With this understanding in mind, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; now turn to &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s decision&lt;/span&gt; to admit the interviewer's testimony as lay &lt;span class="ldml-entity"&gt;opinion in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-ordinal_start="2" data-ordinal_end="2" data-id="heading_22147" data-parsed="true" data-value="2. Application" data-specifier="2" id="heading_22147" data-content-heading-label="2. Application" data-format="number"&gt;&lt;span data-paragraph-id="22147" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="22147" data-sentence-id="22147" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-paragraph-id="22147" data-sentence-id="22150" class="ldml-sentence"&gt;Application&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="22161" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="22161" data-sentence-id="22161" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22161"&gt;&lt;span class="ldml-cite"&gt;¶26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Here, Venalonzo challenges specific portions of the interviewer's testimony.&lt;/span&gt; &lt;span data-paragraph-id="22161" data-sentence-id="22242" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; treat these challenges separately because &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that some, but not all, of her testimony exceeded the scope of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="22370" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="22370" data-sentence-id="22371" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22371"&gt;&lt;span class="ldml-cite"&gt;¶27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; First, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; address Venalonzo's argument that the interviewer's statements about her training, experience, and techniques conducting forensic interviews constituted expert testimony.&lt;a href="#note-fr3" class="ldml-noteanchor" id="note-ref-fr3"&gt;3&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="22370" data-sentence-id="22556" class="ldml-sentence"&gt;The interviewer's &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-vol="388" data-id="pagenumber_22574" data-val="876"&gt;&lt;/span&gt;testimony describing her professional background, including the number of interviews &lt;span class="ldml-entity"&gt;she&lt;/span&gt; has conducted and the number of times &lt;span class="ldml-entity"&gt;she&lt;/span&gt; has testified in &lt;span class="ldml-entity"&gt;court&lt;/span&gt;, is not expert testimony because any ordinary person is capable of describing her own credentials.&lt;/span&gt; &lt;span data-paragraph-id="22370" data-sentence-id="22827" class="ldml-sentence"&gt;The interviewer also described how &lt;span class="ldml-entity"&gt;she&lt;/span&gt; conducts an interview with a child victim, including that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; builds rapport with the child, tests the child's memory, directs the child to answer questions honestly, and usually asks open-ended, not leading, questions.&lt;/span&gt; &lt;span data-paragraph-id="22370" data-sentence-id="23086" class="ldml-sentence"&gt;This description of basic interview protocol did not amount to expert testimony, either.&lt;/span&gt; &lt;span data-paragraph-id="22370" data-sentence-id="23175" class="ldml-sentence"&gt;While an ordinary person may not be able to articulate a specific protocol for conducting interviews, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; would know that in order to obtain accurate information from a child, it is important to make the child feel comfortable, evaluate whether the child remembers the events in question, and make sure the child understands the importance of the truth.&lt;/span&gt; &lt;span data-paragraph-id="22370" data-sentence-id="23529" class="ldml-sentence"&gt;As for the distinction between leading and non-leading questions, the terms themselves may not be familiar to a lay person, but the concepts certainly are.&lt;/span&gt; &lt;span data-paragraph-id="22370" data-sentence-id="23685" class="ldml-sentence"&gt;The ordinary person could be expected to understand that asking a question, especially of a child, that in itself suggests the answer would yield a less reliable response.&lt;/span&gt; &lt;span data-paragraph-id="22370" data-sentence-id="23857" class="ldml-sentence"&gt;Significantly, in testifying about her professional background, the interviewer did not draw any inferences about the victim's behavior in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;she&lt;/span&gt; did not describe her interview techniques in detailed or technical terms that would have been outside the understanding of an ordinary person.&lt;/span&gt; &lt;span data-paragraph-id="22370" data-sentence-id="24158" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that this general description of the protocol that the interviewer uses when interviewing child victims did not require specialized knowledge, and thus &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; did not abuse its discretion in admitting it.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="24383" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="24383" data-sentence-id="24384" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24384"&gt;&lt;span class="ldml-cite"&gt;¶28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Next, Venalonzo argues that the interviewer's testimony that children are not very good at understanding physical measurements, that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; often use generalities when speaking, and that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; often reveal secrets to other children before &lt;span class="ldml-entity"&gt;they&lt;/span&gt; tell adults was expert testimony.&lt;/span&gt; &lt;span data-paragraph-id="24383" data-sentence-id="24663" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; disagree.&lt;/span&gt; &lt;span data-paragraph-id="24383" data-sentence-id="24676" class="ldml-sentence"&gt;That the interviewer recognized this behavior because of her years of experience interviewing child sex assault victims does not mean that her observations were expert testimony.&lt;/span&gt; &lt;span data-paragraph-id="24383" data-sentence-id="24855" class="ldml-sentence"&gt;The ordinary person has spent time with children and could reasonably be expected to know that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are not as accurate or perceptive as adults.&lt;/span&gt; &lt;span data-paragraph-id="24383" data-sentence-id="25000" class="ldml-sentence"&gt;Similarly, an ordinary person could be expected to know that children are more apt to share information with their peers than with adults, especially if &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are unsure whether &lt;span class="ldml-entity"&gt;they&lt;/span&gt; may have done something wrong and fear being punished.&lt;/span&gt; &lt;span data-paragraph-id="24383" data-sentence-id="25237" class="ldml-sentence"&gt;Because an ordinary person who interacts with children can recognize these behaviors without additional training or specialized experience, this information is lay opinion testimony within the scope of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="25447" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="25447" data-sentence-id="25448" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25448"&gt;&lt;span class="ldml-cite"&gt;¶29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Although the aforementioned parts of the interviewer's testimony were not expert testimony, other portions that Venalonzo challenges fall outside the scope of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; because &lt;span class="ldml-entity"&gt;they&lt;/span&gt; include conclusions that relied on the interviewer's specialized experience.&lt;/span&gt; &lt;span data-paragraph-id="25447" data-sentence-id="25709" class="ldml-sentence"&gt;In particular, the interviewer testified as an expert when &lt;span class="ldml-entity"&gt;she&lt;/span&gt; described the significance of the children's behavior during the forensic interviews.&lt;/span&gt; &lt;span data-paragraph-id="25447" data-sentence-id="25858" class="ldml-sentence"&gt;This included the interviewer's reference to &lt;span class="ldml-quotation quote"&gt;"reproduction"&lt;/span&gt;—the habit of children to gesture with their hands to demonstrate where on their bodies &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were touched—and her statement that A.M. had engaged in this behavior in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25447" data-sentence-id="26094" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; used her specialized knowledge to answer &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt;'s question about what a child's reproduction means to a forensic investigation.&lt;/span&gt; &lt;span data-paragraph-id="25447" data-sentence-id="26234" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; explained that reproduction is &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[w]&lt;/span&gt;hen &lt;span class="ldml-parenthetical"&gt;[child victims]&lt;/span&gt; actually demonstrate on their own body what occurred to them, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; do that without my prompting, try to describe some touching that happened to them.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;They&lt;/span&gt; physically demonstrate that on themselves."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="25447" data-sentence-id="26492" class="ldml-sentence"&gt;The interviewer could not have offered this testimony without her specialized experience conducting forensic interviews.&lt;/span&gt; &lt;span data-paragraph-id="25447" data-sentence-id="26613" class="ldml-sentence"&gt;While this testimony was brief, the interviewer's explanation attached significance to the victims' behavior that an ordinary person would not recognize, and its admission as lay testimony was thus an abuse of &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s discretion.&lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-vol="388" data-id="pagenumber_26852" data-val="877"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="26852" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="26852" data-sentence-id="26852" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26852"&gt;&lt;span class="ldml-cite"&gt;¶30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Similarly, the interviewer's discussion of &lt;span class="ldml-quotation quote"&gt;"core versus peripheral"&lt;/span&gt; details also included opinion based on specialized knowledge, particularly when &lt;span class="ldml-entity"&gt;she&lt;/span&gt; discussed the relative importance of each type of detail in determining the truth of an allegation and categorized several of the details to which the children testified as either core or peripheral.&lt;a href="#note-fr4" class="ldml-noteanchor" id="note-ref-fr4"&gt;4&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="26852" data-sentence-id="27208" class="ldml-sentence"&gt;The significance of these differences is not common knowledge, nor would the ordinary person recognize their importance based on her life experience.&lt;/span&gt; &lt;span data-paragraph-id="26852" data-sentence-id="27358" class="ldml-sentence"&gt;Assigning weight to &lt;span class="ldml-quotation quote"&gt;"core"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"peripheral"&lt;/span&gt; details is technical and requires training, skilled observation, and specialized knowledge.&lt;/span&gt; &lt;span data-paragraph-id="26852" data-sentence-id="27494" class="ldml-sentence"&gt;An ordinary person could not be expected to properly characterize parts of a child's story as a core or peripheral fact so as to determine that story's truth.&lt;/span&gt; &lt;span data-paragraph-id="26852" data-sentence-id="27653" class="ldml-sentence"&gt;While anyone who has made a credibility determination knows that the truth is found in the details of the story, giving special weight to &lt;span class="ldml-quotation quote"&gt;"core details"&lt;/span&gt; is different.&lt;/span&gt; &lt;span data-paragraph-id="26852" data-sentence-id="27820" class="ldml-sentence"&gt;Some &lt;span class="ldml-entity"&gt;people&lt;/span&gt; may recognize the distinction based on their personal interactions with children, but the ordinary person would probably not know that the core details of a child's account will remain the same even if the child forgets or confuses the peripheral details.&lt;/span&gt; &lt;span data-paragraph-id="26852" data-sentence-id="28088" class="ldml-sentence"&gt;Here, the interviewer testified that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; learned about the significance of core versus peripheral details from her extensive training in forensic interviewing and from her experience treating child sex assault victims.&lt;/span&gt; &lt;span data-paragraph-id="26852" data-sentence-id="28307" class="ldml-sentence"&gt;Thus, making this distinction constituted expert testimony that was &lt;span class="ldml-quotation quote"&gt;"based on ... specialized knowledge within the scope of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28307"&gt;&lt;span class="ldml-cite"&gt;Rule 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,"&lt;/span&gt; meaning &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; abused its discretion in admitting it as lay testimony.&lt;/span&gt; &lt;span data-paragraph-id="26852" data-sentence-id="28522" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;span class="ldml-underline"&gt;See&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28307"&gt;&lt;span class="ldml-cite"&gt;CRE 701&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="28537" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="28537" data-sentence-id="28537" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28537"&gt;&lt;span class="ldml-cite"&gt;¶31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Having determined that it was error to permit the forensic interviewer to offer expert testimony in the guise of lay opinion, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; now address whether three witnesses' testimony improperly bolstered A.M.'s and C.O.'s credibility.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="2" data-ordinal_end="2" data-id="heading_28768" data-parsed="true" data-value="B. Bolstering Testimony" data-specifier="B" id="heading_28768" data-content-heading-label="B. Bolstering Testimony" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="28768" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="28768" data-sentence-id="28768" class="ldml-sentence"&gt;B.&lt;/span&gt; &lt;span data-paragraph-id="28768" data-sentence-id="28771" class="ldml-sentence"&gt;Bolstering Testimony&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-ordinal_start="1" data-ordinal_end="1" data-id="heading_28791" data-parsed="true" data-value="1. Law" data-specifier="1" id="heading_28791" data-content-heading-label="1. Law" data-format="number"&gt;&lt;span data-paragraph-id="28791" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="28791" data-sentence-id="28791" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-paragraph-id="28791" data-sentence-id="28794" class="ldml-sentence"&gt;Law&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="28797" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="28797" data-sentence-id="28797" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28797"&gt;&lt;span class="ldml-cite"&gt;¶32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;This court&lt;/span&gt; has held that witnesses are prohibited from testifying that another witness is telling the truth on a particular occasion.&lt;/span&gt; &lt;span data-paragraph-id="28797" data-sentence-id="28935" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889493995" data-vids="889493995" class="ldml-reference" data-prop-ids="sentence_28797"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Wittrein&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;221 P.3d 1076, 1081&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2009&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(citing CRE 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; )&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889117167" data-vids="889117167" class="ldml-reference" data-prop-ids="sentence_28797"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Eppens&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;979 P.2d 14, 17&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28797" data-sentence-id="29058" class="ldml-sentence"&gt;This rule applies to both direct and indirect implications of a child's truthfulness.&lt;/span&gt; &lt;span data-paragraph-id="28797" data-sentence-id="29144" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-underline"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/span&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889493995" data-vids="889493995" class="ldml-reference" data-prop-ids="embeddedsentence_29176,sentence_29058"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Wittrein&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;221 P.3d at 1082&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_29058"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Snook&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;745 P.2d 647, 648&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, for &lt;span class="ldml-entity"&gt;the proposition&lt;/span&gt; that a social worker's testimony that children tend not to fabricate stories of sexual abuse was inadmissible because it was tantamount to testimony that the child victim was telling the truth in &lt;span class="ldml-entity"&gt;that case&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;a href="#note-fr5" class="ldml-noteanchor" id="note-ref-fr5"&gt;5&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="28797" data-sentence-id="29460" class="ldml-sentence"&gt;The danger in admitting such testimony lies in the possibility that it will improperly invade the province of the fact-finder.&lt;/span&gt; &lt;span data-paragraph-id="28797" data-sentence-id="29587" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-underline"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/span&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888817060" data-vids="888817060" class="ldml-reference" data-prop-ids="sentence_29460"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Newbrough&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;803 P.2d 155, 163&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="29643" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="29643" data-sentence-id="29643" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29643"&gt;&lt;span class="ldml-cite"&gt;¶33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Testimony that another witness is credible is especially problematic where the outcome of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; turns on that witness's credibility.&lt;/span&gt; &lt;span data-paragraph-id="29643" data-sentence-id="29783" class="ldml-sentence"&gt;This often occurs in child sex assault &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29643" data-sentence-id="29829" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;span class="ldml-underline"&gt;See, e.g.&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893208724" data-vids="893208724" class="ldml-reference" data-prop-ids="embeddedsentence_29920,sentence_29783"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;&lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-vol="388" data-id="pagenumber_29840" data-val="878"&gt;&lt;/span&gt;Pennsylvania v. Rit chie&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;480 U.S. 39, 60&lt;/span&gt;, &lt;span class="ldml-cite"&gt;107 S.Ct. 989&lt;/span&gt;, &lt;span class="ldml-cite"&gt;94 L.Ed.2d 40&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Child abuse is one of the most difficult crimes to detect and prosecute, in large part because there often are no witnesses except the victim."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29643" data-sentence-id="30067" class="ldml-sentence"&gt;Children may delay reporting sexual abuse, making the collection of physical evidence difficult or impossible.&lt;/span&gt; &lt;span data-paragraph-id="29643" data-sentence-id="30178" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-underline"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/span&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895696008" data-vids="895696008" class="ldml-reference" data-prop-ids="embeddedsentence_30232,sentence_30067"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Fasy&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;829 P.2d 1314, 1317&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1992&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;discussing expert testimony that child victims delay reporting sexual assault&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29643" data-sentence-id="30312" class="ldml-sentence"&gt;In such instances, the child's testimony is likely the most significant evidence, and &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; turns on whether the fact-finder finds the alleged victim credible.&lt;/span&gt; &lt;span data-paragraph-id="29643" data-sentence-id="30475" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;span class="ldml-underline"&gt;See, e.g.&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:oregonvmarrington99cr0566,a10832173p3d911,335or555decidedjuly31,2003" data-prop-ids="embeddedsentence_30545,sentence_30312"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;State v. Marrington&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;335 Or. 555&lt;/span&gt;, &lt;span class="ldml-cite"&gt;73 P.3d 911, 917&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2003&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that the erroneous admission of expert testimony was reversible because &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"involved a swearing contest"&lt;/span&gt; in which the victim claimed that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; touched her, and &lt;span class="ldml-entity"&gt;he&lt;/span&gt; testified in his own defense that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29643" data-sentence-id="30778" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; must be particularly mindful of testimony that a child victim is telling the truth when that child's testimony is &lt;span class="ldml-quotation quote"&gt;"the focal issue in &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="29643" data-sentence-id="30936" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_30778"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Snook&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;745 P.2d at 649&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="30959" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="30959" data-sentence-id="30959" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30959"&gt;&lt;span class="ldml-cite"&gt;¶34&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; With these principles in mind, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; now assess whether the interviewer's, &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s, and the officer's testimony violated the rule against testimony that another witness is telling the truth.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-ordinal_start="2" data-ordinal_end="2" data-id="heading_31151" data-parsed="true" data-value="2. Forensic Interviewer" data-specifier="2" id="heading_31151" data-content-heading-label="2. Forensic Interviewer" data-format="number"&gt;&lt;span data-paragraph-id="31151" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="31151" data-sentence-id="31151" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-paragraph-id="31151" data-sentence-id="31154" class="ldml-sentence"&gt;Forensic Interviewer&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="31174" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="31174" data-sentence-id="31175" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31175"&gt;&lt;span class="ldml-cite"&gt;¶35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As discussed above, the interviewer testified about the two girls' interviews and compared their behavior to that of other child sex assault victims.&lt;/span&gt; &lt;span data-paragraph-id="31174" data-sentence-id="31329" class="ldml-sentence"&gt;Specifically, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; stated that many of the children's behaviors were common to other child sex assault victims &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had interviewed and testified that some forensic interviews have led &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; to drop charges against suspects.&lt;/span&gt; &lt;span data-paragraph-id="31174" data-sentence-id="31557" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that the interviewer's testimony violated &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; because it improperly bolstered the children's credibility and led to the impermissible inference that the children were telling the truth about the incident.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="31780" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="31780" data-sentence-id="31780" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31780"&gt;&lt;span class="ldml-cite"&gt;¶36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; First, the only purpose for the interviewer's testimony comparing A.M.'s and C.O.'s behavior to that of other child sex assault victims was to bolster the children's credibility.&lt;/span&gt; &lt;span data-paragraph-id="31780" data-sentence-id="31963" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-underline"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/span&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="embeddedsentence_31994,sentence_31780"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Snook&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;745 P.2d at 648–49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"the jury's only conceivable use of"&lt;/span&gt; testimony that children tend not to fabricate stories of sexual abuse and that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; often reproduce their experience when reporting it &lt;span class="ldml-quotation quote"&gt;"would be as support for &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt;'s truthful character"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31780" data-sentence-id="32244" class="ldml-sentence"&gt;Admitting this evidence did not make any other fact at issue more or less probable.&lt;/span&gt; &lt;span data-paragraph-id="31780" data-sentence-id="32328" class="ldml-sentence"&gt;The testimony was not necessary for &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; to lay a foundation for admitting the videotaped forensic interviews.&lt;/span&gt; &lt;span data-paragraph-id="31780" data-sentence-id="32445" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;span class="ldml-underline"&gt;Cf.&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_32464,sentence_32328"&gt;&lt;span class="ldml-cite"&gt;CRE 901&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;providing that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;estimony that a matter is what it is claimed to be"&lt;/span&gt; is sufficient to lay foundation for admissibility&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31780" data-sentence-id="32587" class="ldml-sentence"&gt;Once the interviewer began comparing A.M. and C.O. to other child sex assault victims—stating that children who had been sexually assaulted commonly gave conflicting details—her testimony had no proper purpose.&lt;/span&gt; &lt;span data-paragraph-id="31780" data-sentence-id="32798" class="ldml-sentence"&gt;Instead, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; offered it to show that, despite their inconsistent accounts of the assault, A.M. and C.O. were telling the truth.&lt;/span&gt; &lt;span data-paragraph-id="31780" data-sentence-id="32933" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; abused its discretion in admitting this testimony.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="33016" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="33016" data-sentence-id="33017" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33017"&gt;&lt;span class="ldml-cite"&gt;¶37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Venalonzo also objected to the interviewer's statement on redirect examination that forensic interviews have led &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; to drop charges against some suspects.&lt;/span&gt; &lt;span data-paragraph-id="33016" data-sentence-id="33184" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; argued that this testimony implied that A.M. and C.O. were telling the truth because, after the interviewer's forensic interviews in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; moved forward with their charges against Venalonzo.&lt;/span&gt; &lt;span data-paragraph-id="33016" data-sentence-id="33394" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; counter that this testimony was proper because &lt;span class="ldml-entity"&gt;they&lt;/span&gt; elicited the statement in response to Venalonzo's implication that the interviewer was biased.&lt;/span&gt; &lt;span data-paragraph-id="33016" data-sentence-id="33552" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; agree with Venalonzo.&lt;/span&gt; &lt;span data-paragraph-id="33016" data-sentence-id="33577" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecutor&lt;/span&gt; first brought up the issue of bias on his direct examination of the interviewer.&lt;/span&gt; &lt;span data-paragraph-id="33016" data-sentence-id="33673" class="ldml-sentence"&gt;Specifically, &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; asked, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[A]&lt;/span&gt;re you an agent for the police?"&lt;/span&gt; to which the interviewer responded that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was not.&lt;/span&gt; &lt;span data-paragraph-id="33016" data-sentence-id="33799" class="ldml-sentence"&gt;Subsequently, during cross-examination, defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; pursued this line of questioning by asking which organizations hire the Advocacy Center to conduct forensic interviews and about the Advocacy Center's relationship with various state governmental and legal entities.&lt;/span&gt; &lt;span data-paragraph-id="33016" data-sentence-id="34071" class="ldml-sentence"&gt;Although these questions implied bias, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; did not open the door to the interviewer's testimony that previous, unrelated interviews resulted in dropped charges.&lt;/span&gt; &lt;span data-paragraph-id="33016" data-sentence-id="34233" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; sufficiently responded to &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-vol="388" data-id="pagenumber_34270" data-val="879"&gt;&lt;/span&gt;Venalonzo's implication by eliciting testimony from the interviewer that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was not biased when &lt;span class="ldml-entity"&gt;she&lt;/span&gt; interviewed A.M. and C.O., that no district attorneys served on the Advocacy Center's board or influenced its policies, and that forensic interviewers try to prevent suggestibility to protect the integrity of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s interest.&lt;/span&gt; &lt;span data-paragraph-id="33016" data-sentence-id="34619" class="ldml-sentence"&gt;The testimony about previous interviews resulting in dropped charges implied that the children were telling the truth about Venalonzo's acts because, here, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; charged Venalonzo with sexual assault.&lt;/span&gt; &lt;span data-paragraph-id="33016" data-sentence-id="34825" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; abused its discretion in admitting it.&lt;a href="#note-fr6" class="ldml-noteanchor" id="note-ref-fr6"&gt;6&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;p data-paragraph-id="34903" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="34903" data-sentence-id="34903" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34903"&gt;&lt;span class="ldml-cite"&gt;¶38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; now address the portions of &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s testimony that Venalonzo challenges.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-ordinal_start="3" data-ordinal_end="3" data-id="heading_34983" data-parsed="true" data-value="3. Mother" data-specifier="3" id="heading_34983" data-content-heading-label="3. Mother" data-format="number"&gt;&lt;span data-paragraph-id="34983" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="34983" data-sentence-id="34983" class="ldml-sentence"&gt;3.&lt;/span&gt; &lt;span data-paragraph-id="34983" data-sentence-id="34986" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="34992" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="34992" data-sentence-id="34993" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34993"&gt;&lt;span class="ldml-cite"&gt;¶39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; testified that A.M. did not display any signs that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was lying when &lt;span class="ldml-entity"&gt;she&lt;/span&gt; reported the incident, that A.M. was not sophisticated enough to make up a story about the sexual assault, and that A.M. had no reason to accuse Venalonzo unless the incident had actually occurred.&lt;/span&gt; &lt;span data-paragraph-id="34992" data-sentence-id="35276" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s testimony amounted to testimony that A.M. was telling the truth about the sexual assault.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="35391" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="35391" data-sentence-id="35391" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35391"&gt;&lt;span class="ldml-cite"&gt;¶40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s statements were similar to those that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; held were improper in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_35391"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Snook&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889493995" data-vids="889493995" class="ldml-reference" data-prop-ids="sentence_35391"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Wittrein&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35391" data-sentence-id="35487" class="ldml-sentence"&gt;The expert social worker in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_35487"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Snook&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; testified that &lt;span class="ldml-quotation quote"&gt;"children tend not to fabricate stories of sexual abuse and in giving reports tend to reproduce their experiences."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="35391" data-sentence-id="35652" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_35487"&gt;&lt;span class="ldml-cite"&gt;745 P.2d at 648&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35391" data-sentence-id="35669" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; further testified that, &lt;span class="ldml-quotation quote"&gt;"in order to make these things up, there has to be a basis for that experience."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="35391" data-sentence-id="35778" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_35669"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="35391" data-sentence-id="35782" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; held that the testimony was inadmissible under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; because it was testimony &lt;span class="ldml-quotation quote"&gt;"that &lt;span class="ldml-parenthetical"&gt;[the child victim]&lt;/span&gt; is almost certainly telling the truth."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="35391" data-sentence-id="35930" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_35782"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt; at 648–49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35391" data-sentence-id="35945" class="ldml-sentence"&gt;Similarly, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889493995" data-vids="889493995" class="ldml-reference" data-prop-ids="sentence_35945"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Wittrein&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, a child psychiatrist testified, &lt;span class="ldml-quotation quote"&gt;"It's hard for me to imagine that an eight-year-old child would be able to put together ... a plan &lt;span class="ldml-parenthetical"&gt;[to portray herself as a victim]&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="35391" data-sentence-id="36135" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889493995" data-vids="889493995" class="ldml-reference" data-prop-ids="sentence_35945"&gt;&lt;span class="ldml-cite"&gt;221 P.3d at 1081&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35391" data-sentence-id="36153" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; characterized this statement as an improper &lt;span class="ldml-quotation quote"&gt;"generalization about whether children have the sophistication to fabricate allegations of sexual abuse."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="35391" data-sentence-id="36306" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889493995" data-vids="889493995" class="ldml-reference" data-prop-ids="sentence_36153"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt; at 1082&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35391" data-sentence-id="36319" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; held that the testimony was inadmissible.&lt;/span&gt; &lt;span data-paragraph-id="35391" data-sentence-id="36370" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889493995" data-vids="889493995" class="ldml-reference" data-prop-ids="sentence_36319"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="36373" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="36373" data-sentence-id="36373" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36373"&gt;&lt;span class="ldml-cite"&gt;¶41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Here, although &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; did not directly state that her daughter was telling the truth, her statements communicated this belief.&lt;/span&gt; &lt;span data-paragraph-id="36373" data-sentence-id="36504" class="ldml-sentence"&gt;As in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_36504"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Snook&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889493995" data-vids="889493995" class="ldml-reference" data-prop-ids="sentence_36504"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Wittrein&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s testimony on this issue served no other purpose than to bolster A.M.'s credibility.&lt;/span&gt; &lt;span data-paragraph-id="36373" data-sentence-id="36623" class="ldml-sentence"&gt;By testifying that her daughter was not sophisticated enough to fabricate her allegations against Venalonzo, that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had no reason to make up the story, and that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; would not make this accusation unless it were true, &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; expressed her belief that A.M. was telling the truth in this instance.&lt;/span&gt; &lt;span data-paragraph-id="36373" data-sentence-id="36920" class="ldml-sentence"&gt;Therefore, &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s testimony violated &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; abused its discretion by allowing it.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="37028" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="37028" data-sentence-id="37028" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37028"&gt;&lt;span class="ldml-cite"&gt;¶42&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The People&lt;/span&gt; assert that Venalonzo opened the door to this testimony by implying that A.M. made up her story at C.O.'s suggestion.&lt;/span&gt; &lt;span data-paragraph-id="37028" data-sentence-id="37161" class="ldml-sentence"&gt;Even assuming, without deciding, that defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s questions attacked A.M.'s character for truthfulness, &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s testimony addressed A.M.'s truthfulness in this specific instance as opposed to her general character for truthfulness.&lt;/span&gt; &lt;span data-paragraph-id="37028" data-sentence-id="37400" class="ldml-sentence"&gt;When questioning &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; stated, &lt;span class="ldml-quotation quote"&gt;"you said that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; wouldn't accuse somebody of &lt;span class="ldml-underline"&gt;this&lt;/span&gt;,"&lt;/span&gt; and asked whether &lt;span class="ldml-quotation quote"&gt;"her mind wasn't sophisticated enough to come up with &lt;span class="ldml-underline"&gt;this&lt;/span&gt;?"&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="37028" data-sentence-id="37581" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphasis added&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="37028" data-sentence-id="37599" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; also asked &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; whether &lt;span class="ldml-entity"&gt;she&lt;/span&gt; knew of any reason A.M. would say that Venalonzo had touched her.&lt;/span&gt; &lt;span data-paragraph-id="37028" data-sentence-id="37698" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecutor&lt;/span&gt;'s questions thus elicited &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s comments on A.M.'s veracity in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, specifically regarding Venalonzo.&lt;/span&gt; &lt;span data-paragraph-id="37028" data-sentence-id="37824" class="ldml-sentence"&gt;For this reason, even if Venalonzo opened the door to testimony about A.M.'s general character for truthfulness, &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s testimony went beyond &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-vol="388" data-id="pagenumber_37968" data-val="880"&gt;&lt;/span&gt;the scope of admissible testimony under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="38019" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="38019" data-sentence-id="38019" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38019"&gt;&lt;span class="ldml-cite"&gt;¶43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Next, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; consider the investigating officer's testimony.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-ordinal_start="4" data-ordinal_end="4" data-id="heading_38079" data-parsed="true" data-value="4. The Investigating Officer" data-specifier="4" id="heading_38079" data-content-heading-label="4. The Investigating Officer" data-format="number"&gt;&lt;span data-paragraph-id="38079" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="38079" data-sentence-id="38079" class="ldml-sentence"&gt;4.&lt;/span&gt; &lt;span data-paragraph-id="38079" data-sentence-id="38082" class="ldml-sentence"&gt;The Investigating Officer&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="38107" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="38107" data-sentence-id="38108" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38108"&gt;&lt;span class="ldml-cite"&gt;¶44&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Venalonzo argues that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in permitting the investigating police officer to testify that, in his experience as a school teacher, children only make up trivial stories, not serious accusations.&lt;a href="#note-fr7" class="ldml-noteanchor" id="note-ref-fr7"&gt;7&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="38107" data-sentence-id="38323" class="ldml-sentence"&gt;Normally, this statement would constitute improper testimony that the children were telling the truth.&lt;/span&gt; &lt;span data-paragraph-id="38107" data-sentence-id="38426" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-underline"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/span&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_38323"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Snook&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;745 P.2d at 648–49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889493995" data-vids="889493995" class="ldml-reference" data-prop-ids="sentence_38323"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Wittrein&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;221 P.3d at 1081–82&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="38107" data-sentence-id="38489" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, however, Venalonzo had previously questioned the officer about this exact issue when &lt;span class="ldml-entity"&gt;he&lt;/span&gt; asked whether, in the officer's experience, kids make things up.&lt;/span&gt; &lt;span data-paragraph-id="38107" data-sentence-id="38656" class="ldml-sentence"&gt;By doing so &lt;span class="ldml-entity"&gt;he&lt;/span&gt; opened the door for further questioning on this matter.&lt;/span&gt; &lt;span data-paragraph-id="38107" data-sentence-id="38727" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; were entitled to follow defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s question about kids making things up with a question regarding what types of things &lt;span class="ldml-entity"&gt;they&lt;/span&gt; would make up.&lt;/span&gt; &lt;span data-paragraph-id="38107" data-sentence-id="38884" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"The concept of &lt;span class="ldml-quotation quote"&gt;‘opening the door’&lt;/span&gt; represents an effort by &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; to prevent one &lt;span class="ldml-entity"&gt;party&lt;/span&gt; in a criminal trial from gaining and maintaining an unfair advantage by the selective presentation of facts that, without being elaborated or placed in context, create an incorrect or misleading impression."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="38107" data-sentence-id="39179" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891482549" data-vids="891482549" class="ldml-reference" data-prop-ids="sentence_38884"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Golob v. People&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;180 P.3d 1006, 1012&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2008&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="38107" data-sentence-id="39230" class="ldml-sentence"&gt;The officer's testimony on redirect examination placed his answer on cross-examination in context and did not exceed the scope of cross-examination.&lt;/span&gt; &lt;span data-paragraph-id="38107" data-sentence-id="39379" class="ldml-sentence"&gt;Therefore, because Venalonzo opened the door to the officer's statements, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; did not err in admitting this testimony.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="39509" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="39509" data-sentence-id="39509" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39509"&gt;&lt;span class="ldml-cite"&gt;¶45&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In sum, although &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; did not err in admitting the investigating officer's statements because Venalonzo opened the door to this testimony, it did abuse its discretion in admitting portions of the interviewer's and &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s testimony because &lt;span class="ldml-entity"&gt;they&lt;/span&gt; violated the rule against testimony that another witness was telling the truth.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="39849" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="39849" data-sentence-id="39849" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39849"&gt;&lt;span class="ldml-cite"&gt;¶46&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Having reached these conclusions, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; now turn to the question of whether &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s errors in admitting the interviewer's and &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s testimony merit reversal.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="3" data-ordinal_end="3" data-id="heading_40020" data-parsed="true" data-value="C. Reversible Error" data-specifier="C" id="heading_40020" data-content-heading-label="C. Reversible Error" data-format="upper_case_letters"&gt;&lt;span data-paragraph-id="40020" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="40020" data-sentence-id="40020" class="ldml-sentence"&gt;C.&lt;/span&gt; &lt;span data-paragraph-id="40020" data-sentence-id="40023" class="ldml-sentence"&gt;Reversible Error&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="40039" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="40039" data-sentence-id="40040" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40040"&gt;&lt;span class="ldml-cite"&gt;¶47&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Venalonzo contends that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s admission of the interviewer's and &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s improper testimony prejudiced him because their testimony vouched for the two child witnesses' credibility—which was a central issue in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="40039" data-sentence-id="40277" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; agree and therefore conclude that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s error in admitting the testimony was not harmless.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="40382" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="40382" data-sentence-id="40383" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40383"&gt;&lt;span class="ldml-cite"&gt;¶48&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; review preserved, nonconstitutional errors for harmless error.&lt;/span&gt; &lt;span data-paragraph-id="40382" data-sentence-id="40453" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_40383"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Hagos v. People&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2012 CO 63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40383"&gt;&lt;span class="ldml-cite"&gt;¶ 12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;288 P.3d 116, 119&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;a href="#note-fr8" class="ldml-noteanchor" id="note-ref-fr8"&gt;8&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="40382" data-sentence-id="40507" class="ldml-sentence"&gt;Under harmless error review, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reverse only if the error &lt;span class="ldml-quotation quote"&gt;"affects the substantial rights of &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="40382" data-sentence-id="40614" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_40507"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="40382" data-sentence-id="40618" class="ldml-sentence"&gt;An error affects &lt;span class="ldml-entity"&gt;a party&lt;/span&gt;'s substantial rights if it &lt;span class="ldml-quotation quote"&gt;"substantially influenced the verdict or affected the fairness of the trial proceedings."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="40382" data-sentence-id="40760" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_40618"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887212575" data-vids="887212575" class="ldml-reference" data-prop-ids="sentence_40618"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Tevlin v. People&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;715 P.2d 338, 342&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="40823" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="40823" data-sentence-id="40823" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40823"&gt;&lt;span class="ldml-cite"&gt;¶49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; considered the impact of a similar error in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_40823"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Snook&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="40823" data-sentence-id="40881" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;that case&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; held that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s erroneous admission of a social worker's expert testimony that &lt;span class="ldml-quotation quote"&gt;"children tend not to fabricate stories of sexual abuse"&lt;/span&gt; required reversal of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s conviction.&lt;/span&gt; &lt;span data-paragraph-id="40823" data-sentence-id="41095" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_40881"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Snook&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;745 P.2d at 648–49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="40823" data-sentence-id="41122" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reasoned that the victim's credibility was the focal issue in &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;, and because the social worker's testimony &lt;span class="ldml-quotation quote"&gt;"directly supported &lt;span class="ldml-parenthetical"&gt;[the victim's]&lt;/span&gt; credibility, it may have been the deciding factor in the jury's decision that &lt;span class="ldml-parenthetical"&gt;[the victim's]&lt;/span&gt; version was correct."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="40823" data-sentence-id="41389" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_41122"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt; at 649&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="40823" data-sentence-id="41401" class="ldml-sentence"&gt;Like in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_41401"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Snook&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, here both the interviewer's and &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s improper testimony substantially impacted Venalonzo's right to a fair trial.&lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-vol="388" data-id="pagenumber_41533" data-val="881"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="41533" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="41533" data-sentence-id="41533" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41533"&gt;&lt;span class="ldml-cite"&gt;¶50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As to the interviewer's testimony, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s failure to disclose the interviewer as an expert witness prejudiced Venalonzo because the interviewer's specialized experience, combined with her use of technical terms, imbued her testimony with an air of expertise and may have led the jury to credit her assessment of the children's credibility over other evidence in &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="41533" data-sentence-id="41920" class="ldml-sentence"&gt;If Venalonzo had had the benefit of pretrial disclosure of the interviewer's expert testimony and the bases for her opinions, then &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would have had &lt;span class="ldml-quotation quote"&gt;"the opportunity to evaluate the testimony in advance of trial or to obtain his own expert witness."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="41533" data-sentence-id="42170" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893421592" data-vids="893421592" class="ldml-reference" data-prop-ids="sentence_41920"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Veren&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;140 P.3d at 140&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-underline"&gt;&lt;span class="ldml-signal"&gt;accord&lt;/span&gt; &lt;/span&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889882555" data-vids="889882555" class="ldml-reference" data-prop-ids="embeddedsentence_42272,sentence_41920"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Todd v. Bear Valley Vill.&lt;/span&gt;&lt;span class="ldml-underline"&gt; Apartments&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;980 P.2d 973, 979&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;discussing similar prejudice in civil &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="41533" data-sentence-id="42318" class="ldml-sentence"&gt;Instead, when the interviewer offered an expert opinion on the most crucial evidence in &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;, Venalonzo was without recourse to counter that testimony with his own expert witness.&lt;/span&gt; &lt;span data-paragraph-id="41533" data-sentence-id="42502" class="ldml-sentence"&gt;Therefore, permitting the interviewer to offer her expert opinion caused Venalonzo to suffer the prejudice that the rules governing expert witnesses seek to prevent.&lt;/span&gt; &lt;span data-paragraph-id="41533" data-sentence-id="42668" class="ldml-sentence"&gt;Furthermore, A.M.'s and C.O.'s testimony was the focal point of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;, since no other witnesses were present during the alleged assault and there was no physical evidence.&lt;/span&gt; &lt;span data-paragraph-id="41533" data-sentence-id="42843" class="ldml-sentence"&gt;Because of the significance of A.M.'s and C.O.'s testimony, the interviewer's improper expert testimony that directly supported their credibility by justifying inconsistencies in their testimony caused significant unfair prejudice.&lt;/span&gt; &lt;span data-paragraph-id="41533" data-sentence-id="43075" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-underline"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/span&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893421592" data-vids="893421592" class="ldml-reference" data-prop-ids="sentence_42843"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Veren&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;140 P.3d at 140&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="43102" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="43102" data-sentence-id="43102" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43102"&gt;&lt;span class="ldml-cite"&gt;¶51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Similarly, &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s testimony directly communicated to the jury that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; believed A.M. was telling the truth.&lt;/span&gt; &lt;span data-paragraph-id="43102" data-sentence-id="43216" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecutor&lt;/span&gt; even pointed out in his closing argument that &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; is the one person who knows A.M. best, thus furthering the impact of her improper testimony.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="43376" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="43376" data-sentence-id="43376" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43376"&gt;&lt;span class="ldml-cite"&gt;¶52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In sum, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; cannot say that the interviewer's and &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s improper testimony did not substantially influence the jury's verdict.&lt;/span&gt; &lt;span data-paragraph-id="43376" data-sentence-id="43509" class="ldml-sentence"&gt;Therefore, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s errors in permitting the interviewer to offer improper expert testimony and in permitting the interviewer and &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt; to offer testimony that improperly bolstered the children's credibility were not harmless, and &lt;span class="ldml-entity"&gt;they&lt;/span&gt; require &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to reverse Venalonzo's convictions.&lt;/span&gt; &lt;span data-paragraph-id="43376" data-sentence-id="43802" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-underline"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43509"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-value="IV. Conclusion" data-types="conclusion" data-id="heading_43809" data-confidences="very_high" data-ordinal_end="4" data-ordinal_start="4" data-specifier="IV" id="heading_43809" data-content-heading-label="IV. Conclusion" data-format="upper_case_roman_numeral"&gt;&lt;span data-paragraph-id="43809" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="43809" data-sentence-id="43809" class="ldml-sentence"&gt;IV.&lt;/span&gt; &lt;span data-paragraph-id="43809" data-sentence-id="43813" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="43823" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="43823" data-sentence-id="43823" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43823"&gt;&lt;span class="ldml-cite"&gt;¶53&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold that in determining whether testimony is lay testimony under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; or expert testimony under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; must look to the basis for the opinion.&lt;/span&gt; &lt;span data-paragraph-id="43823" data-sentence-id="43995" class="ldml-sentence"&gt;If the witness provides testimony that could be expected to be based on an ordinary person's experiences or knowledge, then the witness is offering lay testimony.&lt;/span&gt; &lt;span data-paragraph-id="43823" data-sentence-id="44158" class="ldml-sentence"&gt;If, on the other hand, the witness provides testimony that could not be offered without specialized experiences, knowledge, or training, then the witness is offering expert testimony.&lt;/span&gt; &lt;span data-paragraph-id="43823" data-sentence-id="44342" class="ldml-sentence"&gt;Applying that holding, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that some portions of the interviewer's testimony in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; were admissible as lay opinion but that others were inadmissible expert testimony in the guise of lay opinion.&lt;/span&gt; &lt;span data-paragraph-id="43823" data-sentence-id="44551" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; further hold that the interviewer's and &lt;span class="ldml-entity"&gt;Mother&lt;/span&gt;'s testimony improperly bolstered A.M.'s and C.O.'s credibility by creating an impermissible inference that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were telling the truth in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="43823" data-sentence-id="44750" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold that Venalonzo opened the door to the investigating officer's statements regarding what children lie about, and therefore &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; did not abuse its discretion in admitting those statements.&lt;/span&gt; &lt;span data-paragraph-id="43823" data-sentence-id="44965" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the errors in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; warrant reversal.&lt;/span&gt; &lt;span data-paragraph-id="43823" data-sentence-id="45033" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reverse &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;' judgment and remand &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; to that &lt;span class="ldml-entity"&gt;court&lt;/span&gt; with instructions to return &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; to &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; for further proceedings consistent with this opinion.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="45232" class="ldml-paragraph no-indent mt-4"&gt;&lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="45232" data-sentence-id="45232" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;COATS&lt;/span&gt;&lt;/span&gt; concurs in the judgment&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;EID&lt;/span&gt; joins in the concurrence&lt;/span&gt; in the judgment.&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="45328" class="ldml-paragraph no-indent mt-4"&gt;&lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Concurring Opinion (COATS)"&gt;&lt;span data-paragraph-id="45328" data-sentence-id="45328" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;COATS&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-opiniontype"&gt;concurring in the judgment&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="45370" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="45370" data-sentence-id="45370" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45370"&gt;&lt;span class="ldml-cite"&gt;¶54&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Although I would also reverse the judgment of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s sexual-assault-related convictions, I fundamentally disagree not only with the majority's treatment of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45370"&gt;&lt;span class="ldml-cite"&gt;rules 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45370"&gt;&lt;span class="ldml-cite"&gt;701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45370"&gt;&lt;span class="ldml-cite"&gt;702 of the Colorado Rules of Evidence&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; but, more generally, with its approach to ascribing meaning to those rules in the first place.&lt;/span&gt; &lt;span data-paragraph-id="45370" data-sentence-id="45720" class="ldml-sentence"&gt;Quite apart from the propriety of disregarding the texts of the individual rules &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-vol="388" data-id="pagenumber_45801" data-val="882"&gt;&lt;/span&gt;themselves, I think the majority's recasting of their more precise, in its own less precise and circular, terms can only create more problems in application than it could possibly solve.&lt;/span&gt; &lt;span data-paragraph-id="45370" data-sentence-id="45988" class="ldml-sentence"&gt;Moreover, I object to the majority's analysis both because I believe it perpetuates &lt;span class="ldml-parenthetical"&gt;(without meaningful reflection)&lt;/span&gt; questionable characterizations of these particular rules from our earliest attempts to apply the new evidentiary code, and because I believe it substantially misconceives the underlying purpose and design of the code's treatment of opinion testimony.&lt;/span&gt; &lt;span data-paragraph-id="45370" data-sentence-id="46355" class="ldml-sentence"&gt;I therefore write to offer a counterview.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="46396" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="46396" data-sentence-id="46396" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46396"&gt;&lt;span class="ldml-cite"&gt;¶55&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Initially, I fault the majority for failing to make any serious effort, or perhaps even recognize its obligation, to construe the pertinent language of the rules.&lt;/span&gt; &lt;span data-paragraph-id="46396" data-sentence-id="46563" class="ldml-sentence"&gt;Since &lt;span class="ldml-entity"&gt;1980&lt;/span&gt;, the law of evidence in this jurisdiction has been governed by an integrated body of rules, adopted by &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;, subject to the same principles of interpretation that govern our &lt;span class="ldml-entity"&gt;interpretation of &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="46396" data-sentence-id="46782" class="ldml-sentence"&gt;While the majority at times refers to specific rules and purports to apply them, it largely ignores both their specific language and established canons of interpretation, in favor of conclusorily prescribing their meaning in terms it apparently finds more palatable.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="47048" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="47048" data-sentence-id="47048" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47048"&gt;&lt;span class="ldml-cite"&gt;¶56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Notwithstanding our having explicitly addressed, not fifteen years ago, the differences between testimony admissible as lay opinion, pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and testimony admissible as expert opinion, pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and our having identified the considerations that serve to bar the admission of expert opinion under the guise of lay opinion, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-underline"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/span&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885883480" data-vids="885883480" class="ldml-reference" data-prop-ids="sentence_47048"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Stewart&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;55 P.3d 107, 121–124&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2002&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, the majority finds the fact that our &lt;span class="ldml-entity"&gt;opinion in &lt;span class="ldml-entity"&gt;that case&lt;/span&gt;&lt;/span&gt; did not address the testimony of &lt;span class="ldml-quotation quote"&gt;"forensic interviewers"&lt;/span&gt; in particular to be sufficient justification for departing from our own precedent, in favor of adopting terms and distinctions made by a foreign jurisdiction, in reliance on its own prior &lt;span class="ldml-entity"&gt;case law&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="47048" data-sentence-id="47769" class="ldml-sentence"&gt;&lt;span class="ldml-underline"&gt;See&lt;/span&gt; maj. &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. ¶ 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;adopting &lt;span class="ldml-entity"&gt;the holding of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888272119" data-vids="888272119" class="ldml-reference" data-prop-ids="embeddedsentence_47788"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;State v. Gonzale z&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;150 N.H. 74&lt;/span&gt;, &lt;span class="ldml-cite"&gt;834 A.2d 354&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2003&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, which in turn adopted &lt;span class="ldml-entity"&gt;the reasoning of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890311020" data-vids="890311020" class="ldml-reference" data-prop-ids="embeddedsentence_47788"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;State v. Cressey&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;137 N.H. 402&lt;/span&gt;, &lt;span class="ldml-cite"&gt;628 A.2d 696&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, neither of which purports to rest its holding on the actual language of its own similar rule of evidence&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="47048" data-sentence-id="48065" class="ldml-sentence"&gt;And with regard to testimony touching upon the credibility of witnesses, while the majority purports to rely on our prior &lt;span class="ldml-entity"&gt;interpretations of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, I believe it draws the wrong lesson from those prior interpretations and effectively creates a broad and unworkable rule concerning &lt;span class="ldml-quotation quote"&gt;"bolstering,"&lt;/span&gt; or vouching for the truthfulness of particular testimony.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="48421" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="48421" data-sentence-id="48421" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_48421"&gt;&lt;span class="ldml-cite"&gt;¶57&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Notwithstanding the majority's suggestion that it is the nature of the witness in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; as a &lt;span class="ldml-quotation quote"&gt;"forensic interviewer"&lt;/span&gt; that justifies its reconsideration of the difference between lay and expert opinion, it makes little attempt to relate opinion testimony generally to a forensic interviewer's opinion focusing on witness credibility, treating them instead as alternate rationales for exclusion.&lt;/span&gt; &lt;span data-paragraph-id="48421" data-sentence-id="48822" class="ldml-sentence"&gt;Rather than approach these rules as an integrated scheme designed to present the fact finder only with evidence that is sufficiently probative of material issues and afford that fact finder some reasonable basis for evaluating the reliability of the evidence so presented, the majority approaches the various rules as if &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were unrelated, segregating the testimonial evidence at issue into discrete units and considering each separately, without regard for their broader impact.&lt;/span&gt; &lt;span data-paragraph-id="48421" data-sentence-id="49304" class="ldml-sentence"&gt;While I can appreciate the need, given the ebb and flow of testimony and objections at trial, to articulate standards of admissibility in terms that can realistically be applied by ruling &lt;span class="ldml-entity"&gt;courts&lt;/span&gt;, I do not believe &lt;span class="ldml-entity"&gt;trial courts&lt;/span&gt; are greatly aided in making what are necessarily interrelated and discretionary decisions concerning admissibility by providing them with a series of mechanical rules, lacking any controlling overarching design.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="49741" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="49741" data-sentence-id="49741" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49741"&gt;&lt;span class="ldml-cite"&gt;¶58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In fact, the scheme of the rules exhibits a distinct preference for testimony based on personal knowledge, and with some explicitly-articulated exceptions, like that for expert testimony, it is therefore designed to exclude testimony about matters of which the witness lacks personal knowledge.&lt;/span&gt; &lt;span data-paragraph-id="49741" data-sentence-id="50040" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;span class="ldml-underline"&gt;See&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49741"&gt;&lt;span class="ldml-cite"&gt;CRE 602, 702, 703&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="49741" data-sentence-id="50063" class="ldml-sentence"&gt;Rather than attempt to rigidly limit non-expert witness testimony to bare descriptions of the witness's first-hand sense impressions, however, the rules contemplate that, within circumscribed limits, witness testimony may take the form of opinions, or &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-vol="388" data-id="pagenumber_50315" data-val="883"&gt;&lt;/span&gt;inferences,&lt;a href="#note-fr_1" class="ldml-noteanchor" id="note-ref-fr_1"&gt;1&lt;/a&gt; rationally derived from those perceptions.&lt;/span&gt; &lt;span data-paragraph-id="49741" data-sentence-id="50370" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;span class="ldml-underline"&gt;See&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_50063"&gt;&lt;span class="ldml-cite"&gt;CRE 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="49741" data-sentence-id="50383" class="ldml-sentence"&gt;Beyond testimony based on personal knowledge, a qualified expert witness is also permitted to testify to scientific, technical, or other specialized knowledge if doing so will assist the trier of fact, and such a qualified expert is permitted to present this testimony in the form of opinion or otherwise.&lt;/span&gt; &lt;span data-paragraph-id="49741" data-sentence-id="50689" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_50383"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="49741" data-sentence-id="50698" class="ldml-sentence"&gt;But in the case of expert opinion, as distinguished from lay opinion, the facts or data upon which the expert bases his opinion or inference need not have been perceived by the witness himself.&lt;/span&gt; &lt;span data-paragraph-id="49741" data-sentence-id="50892" class="ldml-sentence"&gt;Finally, and critical to the question of child witnesses at issue here, in addition to these other provisions addressing lay and expert opinion testimony generally, evidence in the form of opinion is expressly made admissible for the limited purpose of attacking or supporting the credibility of a witness to the extent that it refers to the character of the witness for truthfulness or untruthfulness, but even then, opinion evidence &lt;span class="ldml-underline"&gt;supporting&lt;/span&gt; truthfulness is admissible only after the character of the witness for truthfulness has been attacked.&lt;/span&gt; &lt;span data-paragraph-id="49741" data-sentence-id="51441" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;span class="ldml-underline"&gt;See&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_50892"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="51456" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="51456" data-sentence-id="51456" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51456"&gt;&lt;span class="ldml-cite"&gt;¶59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Perhaps because it does not focus on the actual language of the governing rules, the majority also fails to distinguish testimonial evidence generally from testimony given in the form of opinion, instead largely treating the terms &lt;span class="ldml-quotation quote"&gt;"testimony"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"opinion"&lt;/span&gt; as interchangeable.&lt;/span&gt; &lt;span data-paragraph-id="51456" data-sentence-id="51737" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51737"&gt;&lt;span class="ldml-cite"&gt;Rule 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; clearly governs only the admissibility of opinion testimony that is not &lt;span class="ldml-underline"&gt;expert&lt;/span&gt; opinion&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51737"&gt;&lt;span class="ldml-cite"&gt;rule 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; governs the admissibility of all expert testimony, whether or not it takes the form of opinion; and &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51737"&gt;&lt;span class="ldml-cite"&gt;rule 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; addresses the circumstances under which evidence in the form of opinion or reputation concerning the credibility of a witness will be permitted.&lt;/span&gt; &lt;span data-paragraph-id="51456" data-sentence-id="52100" class="ldml-sentence"&gt;The three rules intersect, or overlap, to the extent &lt;span class="ldml-parenthetical"&gt;(but only to the extent)&lt;/span&gt; that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; govern opinion testimony, as distinguished from testimony describing the witness's perceptions themselves or, in the case of expert testimony, relating or applying acquired scientific, technical, or specialized knowledge.&lt;/span&gt; &lt;span data-paragraph-id="51456" data-sentence-id="52410" class="ldml-sentence"&gt;And to the extent that testimony attacking or supporting the credibility of a witness does not take the form of opinion or reputation evidence, it is not governed by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_52410"&gt;&lt;span class="ldml-cite"&gt;rule 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at all, whether the witness's character for truthfulness has already been attacked or not.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="52678" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="52678" data-sentence-id="52678" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_52678"&gt;&lt;span class="ldml-cite"&gt;¶60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Apart from methodological transgressions in reaching its holding, I find the majority's new formula for distinguishing lay from expert testimony itself to be problematic for several reasons.&lt;/span&gt; &lt;span data-paragraph-id="52678" data-sentence-id="52873" class="ldml-sentence"&gt;Although it nominally asserts that classifying opinion testimony as either lay or expert according to the rules is dependent upon the actual basis for the opinion in question, the majority articulates its new formula for distinguishing one from the other in terms of what the testimony &lt;span class="ldml-quotation quote"&gt;"could be expected to be based on"&lt;/span&gt; and what qualifications it &lt;span class="ldml-quotation quote"&gt;"could not be offered without."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="52678" data-sentence-id="53253" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_52873"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶ 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="52678" data-sentence-id="53268" class="ldml-sentence"&gt;In addition, this formula clearly conflates the qualifications required by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of a witness to offer an expert opinion &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"knowledge, skill, experience, training or education,"&lt;/span&gt;)&lt;/span&gt; with the subject matter of the expert opinion itself &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"scientific, technical, or other specialized knowledge"&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="52678" data-sentence-id="53560" class="ldml-sentence"&gt;And to further complicate matters, the majority injects into the mix the undefined concept of an &lt;span class="ldml-quotation quote"&gt;"ordinary person"&lt;/span&gt;—a term not found in either rule—giving its formula a distinctly circular quality.&lt;/span&gt; &lt;span data-paragraph-id="52678" data-sentence-id="53757" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(Apparently &lt;span class="ldml-quotation quote"&gt;"specialized knowledge"&lt;/span&gt; is knowledge that an &lt;span class="ldml-quotation quote"&gt;"ordinary person"&lt;/span&gt; could not be expected to have and an &lt;span class="ldml-quotation quote"&gt;"ordinary person"&lt;/span&gt; is one who could not be expected to have &lt;span class="ldml-quotation quote"&gt;"specialized knowledge."&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="53953" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="53953" data-sentence-id="53953" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_53953"&gt;&lt;span class="ldml-cite"&gt;¶61&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Because &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; permits testimony as to scientific, technical, or other specialized knowledge and &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; permits only opinion testimony that does not include opinions based on such knowledge, the difference between opinion testimony admissible under each rule must turn, at least in part, on the meaning of the phrase &lt;span class="ldml-quotation quote"&gt;"scientific, technical, &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-vol="388" data-id="pagenumber_54300" data-val="884"&gt;&lt;/span&gt;or other specialized knowledge."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="53953" data-sentence-id="54333" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885883480" data-vids="885883480" class="ldml-reference" data-prop-ids="sentence_54333"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Stewart&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;55 P.3d at 123 &amp; n.10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which was decided by &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; on the very cusp of our &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt; to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; following the corresponding federal &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; made clear that the &lt;span class="ldml-entity"&gt;2000&lt;/span&gt; federal &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt; to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54333"&gt;&lt;span class="ldml-cite"&gt;Fed. R. Evid. 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which added the words &lt;span class="ldml-quotation quote"&gt;"not based on scientific, technical, or other specialized knowledge within the scope of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54333"&gt;&lt;span class="ldml-cite"&gt;Rule 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,"&lt;/span&gt; merely clarified that expert and lay opinion were always intended to be mutually exclusive, precluding any overlap of the two from their inception.&lt;/span&gt; &lt;span data-paragraph-id="53953" data-sentence-id="54839" class="ldml-sentence"&gt;That being &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; found that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred by permitting the officer in &lt;span class="ldml-entity"&gt;that case&lt;/span&gt; to testify as a lay person about his reconstruction of the crime scene because his deductions about such matters as the vehicle's direction, position, and speed, despite being based in part on his perceptions and observation of the scene itself, were also based on his training and education.&lt;/span&gt; &lt;span data-paragraph-id="53953" data-sentence-id="55228" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885883480" data-vids="885883480" class="ldml-reference" data-prop-ids="sentence_54839"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt; at 124&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="55239" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="55239" data-sentence-id="55239" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_55239"&gt;&lt;span class="ldml-cite"&gt;¶62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In addition to finding &lt;span class="ldml-entity"&gt;this amendment&lt;/span&gt; to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_55239"&gt;&lt;span class="ldml-cite"&gt;rule 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; merely a clarification rather than a change, I believe &lt;span class="ldml-entity"&gt;we&lt;/span&gt; made clear in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885883480" data-vids="885883480" class="ldml-reference" data-prop-ids="sentence_55239"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Stewart&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; that an inference actually based on the witness's training or education cannot be admitted without his qualification as an expert witness.&lt;/span&gt; &lt;span data-paragraph-id="55239" data-sentence-id="55512" class="ldml-sentence"&gt;Whether or not it could have been rationally based on the witness's first-hand perceptions alone, without any formal training whatsoever, an opinion admittedly based on the witness's training or education acquires additional weight by being cloaked in the mantle of expertise and, for that reason if none other, is admissible, if at all, only as expert opinion, pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="55239" data-sentence-id="55895" class="ldml-sentence"&gt;The majority perfunctorily dismisses &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s objections to admission of the forensic interviewer's qualifications on grounds that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were matters within her personal knowledge and were not sufficiently challenged as to relevance, and therefore it fails to acknowledge that testimony &lt;span class="ldml-underline"&gt;based on training&lt;/span&gt; is neither testimony of the witness's own perceptions nor of inferences rationally based on his personal perceptions.&lt;/span&gt; &lt;span data-paragraph-id="55239" data-sentence-id="56324" class="ldml-sentence"&gt;Although I would find that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; adequately objected to admission of the forensic interviewer's training and adequately preserved his objection in &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;, I consider it misleading, regardless of the merits of this dispute over preservation, to suggest that admitting testimony about the training or education upon which a witness's testimony is at least partially based is permissible without qualifying that witness as an expert.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="56766" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="56766" data-sentence-id="56766" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56766"&gt;&lt;span class="ldml-cite"&gt;¶63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In addition to admitting as lay opinion some testimony I believe to be admissible only as expert testimony, I also believe the majority's new formula would classify as expert some testimony I would consider to be admissible as lay opinion.&lt;/span&gt; &lt;span data-paragraph-id="56766" data-sentence-id="57010" class="ldml-sentence"&gt;In particular I believe the majority fails to distinguish &lt;span class="ldml-underline"&gt;experiences&lt;/span&gt; that an &lt;span class="ldml-quotation quote"&gt;"ordinary person"&lt;/span&gt; would not have had from &lt;span class="ldml-underline"&gt;inferences&lt;/span&gt; that could not be rationally derived from those experiences without specialized knowledge, effectively requiring qualification as an expert to testify about the former rather than merely about the latter.&lt;/span&gt; &lt;span data-paragraph-id="56766" data-sentence-id="57346" class="ldml-sentence"&gt;While the question of relevance necessarily remains, as always, a central concern, relating one's own experience is definitionally a matter within his personal knowledge, regardless of the uniqueness of that experience.&lt;/span&gt; &lt;span data-paragraph-id="56766" data-sentence-id="57566" class="ldml-sentence"&gt;An inference from personal experiences, however, necessarily becomes a matter of expert opinion if it can only be drawn with the aid of specialized knowledge.&lt;/span&gt; &lt;span data-paragraph-id="56766" data-sentence-id="57725" class="ldml-sentence"&gt;Thus, for example, recounting or summarizing a witness's personal experiences with interviewing children is not itself a matter of specialized knowledge, but inferring something about the general population of children from the sample consisting of those actually interviewed by the witness is clearly a matter of specialized knowledge, requiring the application of principles of empirical modelling and inferential statistics.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="58152" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="58152" data-sentence-id="58152" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_58152"&gt;&lt;span class="ldml-cite"&gt;¶64&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have noted in the past, an expression of the result or meaning of a comparison or scientific test in terms of a frequency or likelihood of occurrence is itself a matter of expertise, separate and apart from the reliability or acceptance of the test or comparison it concerns, requiring an independent demonstration of its reliability.&lt;/span&gt; &lt;span data-paragraph-id="58152" data-sentence-id="58497" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;span class="ldml-underline"&gt;See, e.g.&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethepeopleofthestateofcoloradovwilkersonno04sa362114p3d874june27,2005" data-prop-ids="sentence_58152"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Wilkerson&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;114 P.3d 874, 876–77&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="58152" data-sentence-id="58564" class="ldml-sentence"&gt;Testimony about the typicality of particular occurrences in a witness's personal experience, as distinguished from an opinion that the same frequency of occurrence would appear in the relevant population as a whole, have often been admitted as &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-vol="388" data-id="pagenumber_58808" data-val="885"&gt;&lt;/span&gt;lay opinion.&lt;/span&gt; &lt;span data-paragraph-id="58152" data-sentence-id="58821" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;span class="ldml-underline"&gt;See generally&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_58564"&gt;&lt;span class="ldml-refname"&gt;3 Christopher B. Mueller &amp; Laird C. Kirkpatrick, &lt;span class="ldml-underline"&gt;Federal Evidence&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-cite"&gt;§ 7.3 &lt;span class="ldml-parenthetical"&gt;(4th ed. 2013)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="58152" data-sentence-id="58922" class="ldml-sentence"&gt;Whether testimony of this nature would be sufficiently probative of a material issue to be admissible in any particular case, without expressing any opinion in terms implying an expert conclusion about a broader population, however, must remain a matter of &lt;span class="ldml-entity"&gt;trial court&lt;/span&gt; discretion, just as with all other matters of relevance.&lt;/span&gt; &lt;span data-paragraph-id="58152" data-sentence-id="59248" class="ldml-sentence"&gt;The uniqueness of the witness's experience does not, however, in and of itself, make testimony about it a matter of expertise.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="59374" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="59374" data-sentence-id="59374" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_59374"&gt;&lt;span class="ldml-cite"&gt;¶65&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; For somewhat different reasons, I find the majority's treatment of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, under the rubric of &lt;span class="ldml-quotation quote"&gt;"Bolstering,"&lt;/span&gt; to be equally problematic.&lt;/span&gt; &lt;span data-paragraph-id="59374" data-sentence-id="59518" class="ldml-sentence"&gt;I understand the majority to hold that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; prohibits a witness from implying, either directly or indirectly, that someone else is telling the truth on a particular occasion; and that testimony by the forensic examiner and &lt;span class="ldml-entity"&gt;the mother&lt;/span&gt; of one of the victims—in the interviewer's case, testimony that children who had been sexually assaulted commonly gave conflicting details and in &lt;span class="ldml-entity"&gt;the mother&lt;/span&gt;'s case, testimony that her daughter was not sophisticated enough to make up a story about sexual assault and had no reason to accuse &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;—amounted to testimony that the child-witnesses were telling the truth.&lt;/span&gt; &lt;span data-paragraph-id="59374" data-sentence-id="60133" class="ldml-sentence"&gt;While I agree that testimony to the effect that a testifying witness personally believes someone else is telling the truth—in the sense that the witness believes that the other person made the statement in question without intending to deceive—is not admissible evidence in this jurisdiction, I do not agree that the admissibility of such testimony is governed by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, nor do I agree that the testimony in question should have been excluded as necessarily offered for this purpose.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="60621" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="60621" data-sentence-id="60621" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_60621"&gt;&lt;span class="ldml-cite"&gt;¶66 Rule 608&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; expanded the long-accepted principle of evidence law permitting a witness's character for truthfulness, that is, his character for veracity, or disposition for telling the truth rather than lying, to be attacked or supported with evidence of his reputation in the community, and it did so by permitting similar attack or support by opinion evidence.&lt;a href="#note-fr_2" class="ldml-noteanchor" id="note-ref-fr_2"&gt;2&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="60621" data-sentence-id="60984" class="ldml-sentence"&gt;As the &lt;span class="ldml-entity"&gt;2011&lt;/span&gt; rewrite of the federal rule made crystal clear, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_60984"&gt;&lt;span class="ldml-cite"&gt;Rule 608&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; was never intended to prohibit the admissibility of other evidence of credibility, but only to make admissible character evidence based on personal opinion, in the same manner as evidence of reputation.&lt;a href="#note-fr_3" class="ldml-noteanchor" id="note-ref-fr_3"&gt;3&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="60621" data-sentence-id="61256" class="ldml-sentence"&gt;That this was the intended interpretation of the rule should have been apparent, if not sooner, at least by the time of &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;2003&lt;/span&gt; &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt;&lt;/span&gt; to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_61256"&gt;&lt;span class="ldml-cite"&gt;Fed. R. Evid. 608&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, pointedly replacing the word &lt;span class="ldml-quotation quote"&gt;"credibility"&lt;/span&gt; with the phrase &lt;span class="ldml-quotation quote"&gt;"character for truthfulness."&lt;/span&gt;&lt;a href="#note-fr_4" class="ldml-noteanchor" id="note-ref-fr_4"&gt;4&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="60621" data-sentence-id="61509" class="ldml-sentence"&gt;As the official comments to the rule made clear, the term &lt;span class="ldml-quotation quote"&gt;"credibility"&lt;/span&gt; was considered too imprecise, as it could also be understood to limit attack on the basis of &lt;span class="ldml-quotation quote"&gt;"bias, competency and contradiction impeachment since &lt;span class="ldml-entity"&gt;they&lt;/span&gt; too deal with credibility,"&lt;/span&gt; which was never the intent of the rule.&lt;/span&gt; &lt;span data-paragraph-id="60621" data-sentence-id="61801" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_61801"&gt;&lt;span class="ldml-cite"&gt;Fed. R. Evid. 608&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; advisory committee's note &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2003&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="60621" data-sentence-id="61853" class="ldml-sentence"&gt;As the comment also made clear, &lt;span class="ldml-quotation quote"&gt;"the Committee found it unnecessary to substitute &lt;span class="ldml-quotation quote"&gt;‘character for truthfulness'&lt;/span&gt; for &lt;span class="ldml-quotation quote"&gt;‘credibility’&lt;/span&gt; in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_61853"&gt;&lt;span class="ldml-cite"&gt;Rule 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, because &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_61853"&gt;&lt;span class="ldml-cite"&gt;subdivision &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; already served to limit impeachment to proof of such character."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="60621" data-sentence-id="62090" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_61853"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="62093" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="62093" data-sentence-id="62093" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_62093"&gt;&lt;span class="ldml-cite"&gt;¶67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Although &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have held it error, at least since the adoption of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_62093"&gt;&lt;span class="ldml-cite"&gt;Colorado Rules of Evidence&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, to permit an expert witness to express an opinion on the question whether a child-victim was speaking the truth on a specific occasion, the scope and &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-vol="388" data-id="pagenumber_62342" data-val="886"&gt;&lt;/span&gt;source of that &lt;span class="ldml-entity"&gt;proposition&lt;/span&gt; and its relation to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and opinion evidence of &lt;span class="ldml-quotation quote"&gt;"character for truthfulness"&lt;/span&gt; have always been somewhat unclear.&lt;/span&gt; &lt;span data-paragraph-id="62093" data-sentence-id="62488" class="ldml-sentence"&gt;At times, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have indicated simply that such statements did not qualify for admission under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;span class="ldml-underline"&gt;see, e.g.&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891272422" data-vids="891272422" class="ldml-reference" data-prop-ids="sentence_62488"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Gaffney&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;769 P.2d 1081, 1088&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and at others, that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were actually rendered inadmissible by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;span class="ldml-underline"&gt;see, e.g.&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887212575" data-vids="887212575" class="ldml-reference" data-prop-ids="sentence_62488"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Tevlin v. People&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;715 P.2d 338, 341&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;relying on&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;' rationale in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888019518" data-vids="888019518" class="ldml-reference" data-prop-ids="embeddedsentence_62793"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Koon&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;713 P.2d 410&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="62093" data-sentence-id="62889" class="ldml-sentence"&gt;At times, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have suggested that the only use for an expert opinion that the child was almost certainly telling the truth would be as support for his truthful character, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;span class="ldml-underline"&gt;see, e.g.&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_62889"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Snook&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;745 P.2d 647, 649&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and at others, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have emphasized that even if the child's character for truthfulness had already been attacked, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; would have merely permitted an expert opinion supporting his general character for truthfulness, but &lt;span class="ldml-underline"&gt;not&lt;/span&gt; an opinion that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was speaking the truth, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;span class="ldml-underline"&gt;see, e.g.&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891272422" data-vids="891272422" class="ldml-reference" data-prop-ids="sentence_62889"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Gaffney&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;769 P.2d at 1088&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="63428" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="63428" data-sentence-id="63428" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_63428"&gt;&lt;span class="ldml-cite"&gt;¶68&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; If not before, I believe that since the more recent &lt;span class="ldml-entity"&gt;amendments&lt;/span&gt; to both the federal and &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_63428"&gt;&lt;span class="ldml-cite"&gt;Colorado Rules 608&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, it is manifest that by &lt;span class="ldml-quotation quote"&gt;"credibility"&lt;/span&gt; these rules refer solely to a person's character for veracity, or disposition for lying; and that an opinion to the effect that another was speaking truthfully on a particular occasion does not amount to opinion evidence of his general character for truthfulness.&lt;/span&gt; &lt;span data-paragraph-id="63428" data-sentence-id="63840" class="ldml-sentence"&gt;While I believe &lt;span class="ldml-entity"&gt;the proposition&lt;/span&gt; that an expert witness is not permitted to testify that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; believes another was speaking truthfully on a particular occasion is largely a valid &lt;span class="ldml-entity"&gt;proposition&lt;/span&gt;, I do not believe it can be attributed to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="63428" data-sentence-id="64082" class="ldml-sentence"&gt;Whether such opinions are not considered rationally inferable from personal knowledge at all, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;span class="ldml-underline"&gt;see&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, not helpful to the jury, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-underline"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_64082"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; not based on reliable science or expertise, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;span class="ldml-underline"&gt;see&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-underline"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/span&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethepeopleofthestateofcoloradovshreckno00sa10522p3d68april23,2001" data-prop-ids="sentence_64082"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Shreck&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;22 P.3d 68, 77&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2001&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, or simply not sufficiently probative in the balance against countervailing policy considerations, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;span class="ldml-underline"&gt;see&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have long made clear that notwithstanding &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 704&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which permits opinions as to ultimate issues, &lt;span class="ldml-quotation quote"&gt;"the rules were not intended to permit experts to &lt;span class="ldml-quotation quote"&gt;‘tell the jury what result to reach.’&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="63428" data-sentence-id="64637" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891272422" data-vids="891272422" class="ldml-reference" data-prop-ids="sentence_64082"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Gaffney&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;769 P.2d at 1087&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="64663" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="64663" data-sentence-id="64663" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_64663"&gt;&lt;span class="ldml-cite"&gt;¶69&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; More problematic, however, than simply perpetuating this misconception about the scope of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is the majority's reliance on &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_64663"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Snook&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; for the broader &lt;span class="ldml-entity"&gt;proposition&lt;/span&gt; that the sole purpose for testifying that &lt;span class="ldml-quotation quote"&gt;"children who had been sexually assaulted commonly gave conflicting details"&lt;/span&gt; was to &lt;span class="ldml-quotation quote"&gt;"bolster the children's credibility,"&lt;/span&gt; maj. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. ¶ 36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, or in the words of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_64663"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Snook&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; itself &lt;span class="ldml-parenthetical"&gt;(quoted by the majority)&lt;/span&gt;, &lt;span class="ldml-quotation quote"&gt;"as support for &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt;'s truthful character,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_64663"&gt;&lt;span class="ldml-cite"&gt;745 P.2d at 649&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="64663" data-sentence-id="65138" class="ldml-sentence"&gt;Unlike &lt;span class="ldml-entity"&gt;other cases&lt;/span&gt; in which &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have simply found that opining about a child's statements in terms that were effectively the same as, and would be understood by a jury as, opining that the child was speaking the truth, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;span class="ldml-underline"&gt;see, e.g.&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891272422" data-vids="891272422" class="ldml-reference" data-prop-ids="sentence_65138"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Gaffney&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;769 P.2d at 1087–88&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;child's statements were &lt;span class="ldml-quotation quote"&gt;"very believable"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889117167" data-vids="889117167" class="ldml-reference" data-prop-ids="sentence_65138"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Eppens&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;979 P.2d 14, 17–19&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(child's statement was &lt;span class="ldml-quotation quote"&gt;"sincere"&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_65138"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Snook&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; appeared to extend that reasoning to find that an expert opinion that children tend not to fabricate amounted to both testimony that the child-victim was telling the truth on a particular occasion and testimony that would be support for the child's truthful character, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;span class="ldml-underline"&gt;see&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_65138"&gt;&lt;span class="ldml-cite"&gt;745 P.2d at 649&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="64663" data-sentence-id="65837" class="ldml-sentence"&gt;It did so on the rationale that this was the sole use or purpose for such a statement, and in the absence of any prior attack on the victim's character for truthfulness, it therefore found that admission of the statement violated &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="64663" data-sentence-id="66079" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-underline"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_65837"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="66086" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="66086" data-sentence-id="66086" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_66086"&gt;&lt;span class="ldml-cite"&gt;¶70&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Without challenging in any way the correctness of our finding in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749364" data-vids="895749364" class="ldml-reference" data-prop-ids="sentence_66086"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Snook&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; that it was error to admit an expert opinion that children tend not to fabricate, the suggestion that such testimony amounts to an opinion that a person was speaking truthfully on a specific occasion or an opinion in support of his character for truthfulness, solely because it has that effect or is used for that purpose, can no longer be sustained.&lt;/span&gt; &lt;span data-paragraph-id="66086" data-sentence-id="66512" class="ldml-sentence"&gt;A belief that another person is speaking truthfully on a particular occasion is clearly not reputation or opinion evidence of that person's character for truthfulness, as contemplated by &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; does not offer support for such a disposition or character trait at all; and as &lt;span class="ldml-entity"&gt;we&lt;/span&gt; made clear barely a year later, is neither precluded, nor made admissible upon prior attack, by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="66086" data-sentence-id="66903" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-underline"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/span&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891272422" data-vids="891272422" class="ldml-reference" data-prop-ids="sentence_66512"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;&lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-vol="388" data-id="pagenumber_66909" data-val="887"&gt;&lt;/span&gt;Gaffney&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;769 P.2d at 1088&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="66086" data-sentence-id="66936" class="ldml-sentence"&gt;As &lt;span class="ldml-entity"&gt;we&lt;/span&gt; also made clear in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891272422" data-vids="891272422" class="ldml-reference" data-prop-ids="sentence_66936"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Gaffney&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, with numerous examples of admissible expert opinion, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not prohibit all statements that may tend to support the credibility of a person's out-of-&lt;span class="ldml-entity"&gt;court&lt;/span&gt; statements or in-trial testimony.&lt;/span&gt; &lt;span data-paragraph-id="66086" data-sentence-id="67169" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891272422" data-vids="891272422" class="ldml-reference" data-prop-ids="sentence_66936"&gt;&lt;span class="ldml-cite"&gt;&lt;span class="ldml-underline"&gt;Id.&lt;/span&gt; at 1086&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;a href="#note-fr_5" class="ldml-noteanchor" id="note-ref-fr_5"&gt;5&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;p data-paragraph-id="67182" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="67182" data-sentence-id="67182" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_67182"&gt;&lt;span class="ldml-cite"&gt;¶71&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In perhaps our earliest &lt;span class="ldml-entity"&gt;interpretation of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; as permitting social science or so-called &lt;span class="ldml-quotation quote"&gt;"syndrome"&lt;/span&gt; evidence, without demonstrating compliance with &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888523879" data-vids="888523879" class="ldml-reference" data-prop-ids="sentence_67182"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Frye&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; test&lt;/span&gt;,&lt;a href="#note-fr_6" class="ldml-noteanchor" id="note-ref-fr_6"&gt;6&lt;/a&gt; &lt;span class="ldml-entity"&gt;we&lt;/span&gt; found to be admissible expert testimony concerning Rape Trauma Syndrome, to the effect that a rape victim who knows her assailant is generally more reluctant to report the assault.&lt;/span&gt; &lt;span data-paragraph-id="67182" data-sentence-id="67536" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-underline"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/span&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890973533" data-vids="890973533" class="ldml-reference" data-prop-ids="sentence_67182"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Hampton&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;746 P.2d 947&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="67182" data-sentence-id="67586" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890973533" data-vids="890973533" class="ldml-reference" data-prop-ids="sentence_67586"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Hampton&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; not only distinguished this opinion testimony from an opinion as to the truthfulness of the victim but found it admissible for the express purpose of demonstrating that the victim's testimony was consistent with or—as &lt;span class="ldml-entity"&gt;we&lt;/span&gt; later said in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891272422" data-vids="891272422" class="ldml-reference" data-prop-ids="sentence_67586"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Gaffney&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;769 P.2d at 1087&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; —for the purpose of corroborating her testimony with respect to late reporting of the crime.&lt;/span&gt; &lt;span data-paragraph-id="67182" data-sentence-id="67955" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890973533" data-vids="890973533" class="ldml-reference" data-prop-ids="sentence_67586"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Hampton&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;746 P.2d at 951–52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="67182" data-sentence-id="67984" class="ldml-sentence"&gt;Whether or not sufficient foundation could have been laid to admit as an expert opinion the forensic interviewer's testimony in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; concerning conflicting details by child sexual-assault victims, I disagree that her testimony was barred for having been offered either as a personal belief that the witnesses were speaking the truth on this occasion or as support for their character for truthfulness.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="68390" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="68390" data-sentence-id="68390" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_68390"&gt;&lt;span class="ldml-cite"&gt;¶72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In addition to finding no support in the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_68390"&gt;&lt;span class="ldml-cite"&gt;Rules of Evidence&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, disallowing otherwise admissible opinion evidence on the ground that, despite not itself being an opinion about another person's character for truthfulness or his intent to deceive, it would have the effect of, or was offered for the purpose of, supporting the truthfulness of a particular statement, is simply unworkable in practice.&lt;/span&gt; &lt;span data-paragraph-id="68390" data-sentence-id="68789" class="ldml-sentence"&gt;Virtually any evidence relevant to the commission of a crime can reasonably be characterized as ultimately supporting the testimony or out-of-&lt;span class="ldml-entity"&gt;court&lt;/span&gt; statement of another asserting that the crime occurred.&lt;/span&gt; &lt;span data-paragraph-id="68390" data-sentence-id="68993" class="ldml-sentence"&gt;As our &lt;span class="ldml-entity"&gt;holding in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890973533" data-vids="890973533" class="ldml-reference" data-prop-ids="sentence_68993"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Hampton&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; demonstrates, even testimony expressly offered as relevant solely on the question of lying by a purported sexual assault victim may be admissible.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="69165" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="69165" data-sentence-id="69165" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_69165"&gt;&lt;span class="ldml-cite"&gt;¶73&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; No less than in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890973533" data-vids="890973533" class="ldml-reference" data-prop-ids="sentence_69165"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;Hampton&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the forensic interviewer's testimony in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; concerning the likelihood of conflicting detail in child-sexual-assault-victim statements can fairly be characterized as having been offered for the purpose of disputing what would be widely accepted as indicia of fabrication.&lt;/span&gt; &lt;span data-paragraph-id="69165" data-sentence-id="69471" class="ldml-sentence"&gt;Unlike the majority, I believe the &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-rep="P.3d" data-vol="388" data-id="pagenumber_69506" data-val="888"&gt;&lt;/span&gt;admissibility of such testimony turns on whether it was admissible as expert testimony, under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and if not, whether it amounted to testimony of personal knowledge, as required by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 602&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, or was admissible as a rational inference from personal knowledge, under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="69165" data-sentence-id="69783" class="ldml-sentence"&gt;It was clearly not an expression of personal belief that the child-victims in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; were speaking the truth in making their particular accusations, and I would not perpetuate the confusion that has obscured for many years in this jurisdiction the applicability of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; solely to opinion evidence of character for truthfulness.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="70119" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="70119" data-sentence-id="70119" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_70119"&gt;&lt;span class="ldml-cite"&gt;¶74&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; For similar reasons, I do not believe the statements of one of the victims' mothers were inadmissible for communicating her belief that her child was telling the truth.&lt;/span&gt; &lt;span data-paragraph-id="70119" data-sentence-id="70292" class="ldml-sentence"&gt;Her testimony to the effect that her child was not sophisticated enough to make up a story about sexual assault and that the child had no reason to do so was clearly not merely an expression of personal belief that her child was speaking the truth.&lt;/span&gt; &lt;span data-paragraph-id="70119" data-sentence-id="70541" class="ldml-sentence"&gt;On its face, this was an assessment of both her child's capacity and lack of motive.&lt;/span&gt; &lt;span data-paragraph-id="70119" data-sentence-id="70626" class="ldml-sentence"&gt;Whether &lt;span class="ldml-entity"&gt;she&lt;/span&gt; could be qualified, based on her personal experience with her child alone, to offer an opinion about the extent of her child's psychological development and awareness of sexual matters or the reasons why her child, in particular, might or might not be motivated to fabricate an accusation of sexual assault against a particular individual, are matters governed by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 701 and 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; —not &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="70119" data-sentence-id="71032" class="ldml-sentence"&gt;Had it been possible to lay an adequate foundation for her to offer an opinion on these matters, that opinion would most certainly not have been barred by the fact that it might at one and the same time effectively communicate a belief that her child was telling the truth.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="71305" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="71305" data-sentence-id="71305" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_71305"&gt;&lt;span class="ldml-cite"&gt;¶75&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Unlike the majority, I would not perpetuate what is, at least by this point in time, a clear misreading of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, or saddle &lt;span class="ldml-entity"&gt;trial courts&lt;/span&gt; with the unenviable task of assessing whether testimony which, on its face, in no way expresses a personal belief about a witness's intent to deceive is nevertheless offered with that as its real purpose.&lt;/span&gt; &lt;span data-paragraph-id="71305" data-sentence-id="71653" class="ldml-sentence"&gt;While &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have consistently found science incapable of reliably determining whether someone is speaking the truth, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-underline"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/span&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886312998" data-vids="886312998" class="ldml-reference" data-prop-ids="sentence_71653"&gt;&lt;span class="ldml-refname"&gt;&lt;span class="ldml-underline"&gt;People v. Anderson&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;637 P.2d 354&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1981&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;disallowing lie detector results&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have on a number of occasions found empirical evidence sufficiently reliable and helpful on the question of typical behavior patterns of sexual assault victims or the question whether traits ordinarily associated with fabrication nevertheless appear with regularity in accusations by individuals claiming to be sexual assault victims that ultimately prove to be accurate.&lt;/span&gt; &lt;span data-paragraph-id="71305" data-sentence-id="72228" class="ldml-sentence"&gt;The admissibility of testimony supporting the credibility of another in any manner other than providing opinion or reputation evidence of his character for truthfulness is governed by considerations outside &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="72443" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="72443" data-sentence-id="72443" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_72443"&gt;&lt;span class="ldml-cite"&gt;¶76&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; I would reverse &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s sexual-assault-related convictions because the forensic interviewer's conclusion about the typicality of conflict in the accusations of child-sexual-assault victims was based in part, even according to her own testimony, on her training and education, rather than simply her own observations.&lt;/span&gt; &lt;span data-paragraph-id="72443" data-sentence-id="72772" class="ldml-sentence"&gt;In addition, &lt;span class="ldml-entity"&gt;the mother&lt;/span&gt;'s assessment of her own daughter's capacity and motive for fabricating lacked any foundation whatsoever, as either lay or expert opinion.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="72933" class="ldml-paragraph no-indent mt-4"&gt;&lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="72933" data-sentence-id="72933" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_72933"&gt;&lt;span class="ldml-cite"&gt;¶77&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; I therefore concur in the judgment of &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="72985" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="72985" data-sentence-id="72985" class="ldml-sentence"&gt;I am authorized to state that JUSTICE EID joins in this concurrence judgment.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="73062" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr1" class="ldml-notemarker" id="note-fr1"&gt;1&lt;/a&gt; &lt;span data-paragraph-id="73062" data-sentence-id="73063" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; granted certiorari to review the following issues:&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_73116" class="ldml-blockquote"&gt;&lt;span data-sentence-id="73116" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-sentence-id="73119" class="ldml-sentence"&gt;Whether &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; erred when it held that the testimony of a child forensic interviewer was lay opinion testimony and therefore was not subject to the admissibility and discovery requirements for expert witnesses.&lt;/span&gt;&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_73343" class="ldml-blockquote"&gt;&lt;span data-sentence-id="73343" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-sentence-id="73346" class="ldml-sentence"&gt;Whether &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; erred and departed from the longstanding rule against testimony that a witness is telling the truth on a specific occasion by permitting testimony about the credibility of the child accusers in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt;&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="73579" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="73579" data-sentence-id="73579" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; issue this opinion in conjunction with &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894039400" data-vids="894039400" class="ldml-reference" data-prop-ids="sentence_73579"&gt;&lt;span class="ldml-refname"&gt;Marsh v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2017 CO 10&lt;/span&gt;, &lt;span class="ldml-cite"&gt;––– P.3d ––––&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, because it also concerns the proper scope of a forensic interviewer's non-expert testimony.&lt;/span&gt; &lt;span data-paragraph-id="73579" data-sentence-id="73757" class="ldml-sentence"&gt;In Marsh, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; granted certiorari to review the following issues:&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_73820" class="ldml-blockquote"&gt;&lt;span data-sentence-id="73820" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-sentence-id="73823" class="ldml-sentence"&gt;Whether images automatically stored by a computer in its Internet cache are sufficient, without additional evidence of &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s awareness of the cache or evidence of &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s affirmative conduct such as downloading or saving such images, to establish &lt;span class="ldml-quotation quote"&gt;"knowing possession"&lt;/span&gt; under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_73823"&gt;&lt;span class="ldml-cite"&gt;section 18–6–403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2016&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_74143" class="ldml-blockquote"&gt;&lt;span data-sentence-id="74143" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-sentence-id="74146" class="ldml-sentence"&gt;Whether &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; erred when it held that the testimony of a child forensic interviewer was lay opinion testimony and therefore was not subject to the admissibility and discovery requirements for expert witnesses.&lt;/span&gt;&lt;/blockquote&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="74370" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr2" class="ldml-notemarker" id="note-fr2"&gt;2&lt;/a&gt; &lt;span data-paragraph-id="74370" data-sentence-id="74371" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reverse &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;' judgment based on Venalonzo's first argument—that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; reversibly erred in admitting portions of the forensic interviewer's testimony—&lt;span class="ldml-entity"&gt;we&lt;/span&gt; address Venalonzo's remaining arguments on appeal because the issues are likely to arise on remand.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="74660" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr3" class="ldml-notemarker" id="note-fr3"&gt;3&lt;/a&gt; &lt;span data-paragraph-id="74660" data-sentence-id="74661" class="ldml-sentence"&gt;At trial, Venalonzo also objected that the interviewer's testimony about her training and experience was irrelevant.&lt;/span&gt; &lt;span data-paragraph-id="74660" data-sentence-id="74778" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; overruled the objection, deciding that it would allow the interviewer to offer testimony about how the conduct of the child victims in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; compared to that of other children &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had interviewed, making the interviewer's background information relevant.&lt;/span&gt; &lt;span data-paragraph-id="74660" data-sentence-id="75053" class="ldml-sentence"&gt;The issue of relevance is not before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do not address it here.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="75124" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr4" class="ldml-notemarker" id="note-fr4"&gt;4&lt;/a&gt; &lt;span data-paragraph-id="75124" data-sentence-id="75125" class="ldml-sentence"&gt;The interviewer explained core details, stating that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are &lt;span class="ldml-quotation quote"&gt;"the actual substance of the allegation or what the child says is the ... violation that happened to them."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="75124" data-sentence-id="75295" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; went on to say that peripheral details are things like what the child was wearing and what other &lt;span class="ldml-entity"&gt;people&lt;/span&gt; were doing.&lt;/span&gt; &lt;span data-paragraph-id="75124" data-sentence-id="75415" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; testified that consistency in core details is more important than in peripheral details in determining truthfulness:&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_75535" class="ldml-blockquote"&gt;&lt;span data-sentence-id="75535" class="ldml-sentence"&gt;Core details are the major facts of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; or things that happened.&lt;/span&gt; &lt;span data-sentence-id="75605" class="ldml-sentence"&gt;I generally expect those things to stay consistent, the peripheral details I see the most change in.&lt;/span&gt; &lt;span data-sentence-id="75706" class="ldml-sentence"&gt;Because, generally, those questions aren't asked of the child, but I generally anticipate those core details about the real thing that took place or the thing that took place to stay consistent.&lt;/span&gt;&lt;/blockquote&gt;&lt;p data-paragraph-id="75900" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="75900" data-sentence-id="75900" class="ldml-sentence"&gt;In addition, the interviewer testified that &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[i]&lt;/span&gt;f there is great distance &lt;span class="ldml-parenthetical"&gt;[between when the first statement was taken at the Advocacy Center and the time of trial]&lt;/span&gt;, memory fades about those smaller details and &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are just not as important for the child to remember.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;I expect those basic core details to be the same."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="75900" data-sentence-id="76219" class="ldml-sentence"&gt;Immediately after this line of questioning, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; affirmed that A.M. and C.O. made inconsistent statements—about what toys &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were playing with, where the man who beckoned to them was standing when &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did so, and whether C.O. was in the room when the man touched A.M.—and &lt;span class="ldml-entity"&gt;she&lt;/span&gt; stated that these were not core details.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="76535" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr5" class="ldml-notemarker" id="note-fr5"&gt;5&lt;/a&gt; &lt;span data-paragraph-id="76535" data-sentence-id="76536" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The parties&lt;/span&gt; in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; did not argue that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; should depart from &lt;span class="ldml-entity"&gt;this case law&lt;/span&gt;, and the viability of Snookand &lt;span class="ldml-entity"&gt;the cases&lt;/span&gt; that followed it is not before &lt;span class="ldml-entity"&gt;us&lt;/span&gt; today.&lt;/span&gt; &lt;span data-paragraph-id="76535" data-sentence-id="76698" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:sanchezvcoloradoandnataliemeyerno84sc449730p2d328dec22,1986" data-prop-ids="embeddedsentence_76751,sentence_76536"&gt;&lt;span class="ldml-refname"&gt;SeeSanchez v. State&lt;/span&gt;, &lt;span class="ldml-cite"&gt;730 P.2d 328, 333&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;error to consider an issue that neither &lt;span class="ldml-entity"&gt;party&lt;/span&gt; raised in their briefs&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="76821" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr6" class="ldml-notemarker" id="note-fr6"&gt;6&lt;/a&gt; &lt;span data-paragraph-id="76821" data-sentence-id="76822" class="ldml-sentence"&gt;On appeal, Venalonzo also argues that the interviewer's testimony discussing A.M.'s &lt;span class="ldml-quotation quote"&gt;"reproduction"&lt;/span&gt; of the alleged assault improperly bolstered A.M.'s credibility.&lt;/span&gt; &lt;span data-paragraph-id="76821" data-sentence-id="76985" class="ldml-sentence"&gt;However, Venalonzo did not object to the bolstering effect of this testimony at trial, so &lt;span class="ldml-entity"&gt;we&lt;/span&gt; apply plain error review.&lt;/span&gt; &lt;span data-paragraph-id="76821" data-sentence-id="77104" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_76985"&gt;&lt;span class="ldml-refname"&gt;SeeHagos v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2012 CO 63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_76985"&gt;&lt;span class="ldml-cite"&gt;¶ 14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;288 P.3d 116, 120&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="76821" data-sentence-id="77161" class="ldml-sentence"&gt;An error is plain only when it is obvious and substantial.&lt;/span&gt; &lt;span data-paragraph-id="76821" data-sentence-id="77220" class="ldml-sentence"&gt;Id.&lt;/span&gt;&lt;span data-paragraph-id="76821" data-sentence-id="77223" class="ldml-sentence"&gt;In her explanation of reproduction, the interviewer subtly suggested that A.M. and C.O. were being truthful by using language like &lt;span class="ldml-quotation quote"&gt;"actually demonstrate"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"what occurred to them."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="76821" data-sentence-id="77406" class="ldml-sentence"&gt;While the interviewer may have implied that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; believed that A.M. and C.O. were truthful in their reproduction, it did not so obviously constitute improper bolstering as to amount to plain error.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="77602" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr7" class="ldml-notemarker" id="note-fr7"&gt;7&lt;/a&gt; &lt;span data-paragraph-id="77602" data-sentence-id="77603" class="ldml-sentence"&gt;The officer also stated that there was nothing about how fast C.O. was talking that made him think C.O. was being untruthful.&lt;/span&gt; &lt;span data-paragraph-id="77602" data-sentence-id="77729" class="ldml-sentence"&gt;Because the admissibility of this statement was not raised on appeal, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do not address it.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="77820" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr8" class="ldml-notemarker" id="note-fr8"&gt;8&lt;/a&gt; &lt;span data-paragraph-id="77820" data-sentence-id="77821" class="ldml-sentence"&gt;Because Venalonzo objected to the interviewer's testimony at trial, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; preserved this issue on appeal, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; apply harmless error review.&lt;/span&gt; &lt;span data-paragraph-id="77820" data-sentence-id="77960" class="ldml-sentence"&gt;SeeHagos, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_77960"&gt;&lt;span class="ldml-cite"&gt;¶ 12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_77960"&gt;&lt;span class="ldml-cite"&gt;288 P.3d at 119&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="77820" data-sentence-id="77993" class="ldml-sentence"&gt;Venalonzo contends that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; should apply constitutional harmless error review to &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s erroneous decision to permit the interviewer to testify as a lay witness because it interfered with his constitutional right to effectively cross-examine her.&lt;/span&gt; &lt;span data-paragraph-id="77820" data-sentence-id="78250" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; need not resolve this issue, however, because &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s error is reversible under harmless error review.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="78365" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr_1" class="ldml-notemarker" id="note-fr_1"&gt;1&lt;/a&gt; &lt;span data-paragraph-id="78365" data-sentence-id="78366" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; permits lay testimony in the form of &lt;span class="ldml-quotation quote"&gt;"opinions and inferences,"&lt;/span&gt; while the text of the federal rule only provides for lay testimony in the form of &lt;span class="ldml-quotation quote"&gt;"an opinion."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="78365" data-sentence-id="78534" class="ldml-sentence"&gt;The federal rule previously permitted lay testimony in the form of &lt;span class="ldml-quotation quote"&gt;"opinions or inferences,"&lt;/span&gt; but the &lt;span class="ldml-entity"&gt;2011&lt;/span&gt; federal &lt;span class="ldml-entity"&gt;amendments&lt;/span&gt; removed all references to the term &lt;span class="ldml-quotation quote"&gt;"inference"&lt;/span&gt; in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_78534"&gt;&lt;span class="ldml-cite"&gt;Rule 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-quotation quote"&gt;"on the grounds that the deletion made the Rule flow better and easier to read, and because any &lt;span class="ldml-quotation quote"&gt;‘inference’&lt;/span&gt; is covered by the broader term &lt;span class="ldml-quotation quote"&gt;‘opinion.’&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="78365" data-sentence-id="78869" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_78869"&gt;&lt;span class="ldml-cite"&gt;Fed. R. Evid. 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; advisory committee's note &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2011&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="78365" data-sentence-id="78921" class="ldml-sentence"&gt;Additionally, the advisory committee observed that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[c]&lt;/span&gt;ourts have not made substantive decisions on the basis of any distinction between an opinion and an inference."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="78365" data-sentence-id="79088" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_78921"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="79091" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr_2" class="ldml-notemarker" id="note-fr_2"&gt;2&lt;/a&gt; &lt;span data-paragraph-id="79091" data-sentence-id="79092" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_79142,sentence_60621"&gt;&lt;span class="ldml-refname"&gt;SeeMueller &amp; Kirkpatrick&lt;/span&gt;, &lt;span class="ldml-cite"&gt;supra&lt;/span&gt;&lt;span class="ldml-cite"&gt;§ 6.30&lt;/span&gt;, &lt;span class="ldml-cite"&gt;at 174–76&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;explaining&lt;/span&gt; that attacking a witness's veracity through reputation testimony was proper under common law tradition and that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_60621"&gt;&lt;span class="ldml-cite"&gt;Fed. R. Evid. 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;"sweeps away the artificial distinction between reputation and opinion, so a character witness may give his opinion that the principal witness is by disposition untruthful."&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="79459" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr_3" class="ldml-notemarker" id="note-fr_3"&gt;3&lt;/a&gt; &lt;span data-paragraph-id="79459" data-sentence-id="79460" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_79460"&gt;&lt;span class="ldml-cite"&gt;Fed. R. Evid. 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; now provides that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt; witness's credibility may be attacked or supported by testimony about the witness's reputation for having a character for truthfulness or untruthfulness, or by testimony in the form of an opinion about that character,"&lt;/span&gt; and the advisory committee expressly stated that the &lt;span class="ldml-entity"&gt;2011&lt;/span&gt; changes to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_79460"&gt;&lt;span class="ldml-cite"&gt;Rule 608&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; were &lt;span class="ldml-quotation quote"&gt;"intended to be stylistic only,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_79460"&gt;&lt;span class="ldml-cite"&gt;Fed. R. Evid. 608&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; advisory committee's note &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2011&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="79893" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr_4" class="ldml-notemarker" id="note-fr_4"&gt;4&lt;/a&gt; &lt;span data-paragraph-id="79893" data-sentence-id="79894" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;This court&lt;/span&gt; followed suit by amending &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 608&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to replace &lt;span class="ldml-quotation quote"&gt;"credibility"&lt;/span&gt; with &lt;span class="ldml-quotation quote"&gt;"character for truthfulness"&lt;/span&gt; in an order dated &lt;span class="ldml-entity"&gt;September 29, 2005&lt;/span&gt;, which became effective &lt;span class="ldml-entity"&gt;January 1, 2006&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="80078" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr_5" class="ldml-notemarker" id="note-fr_5"&gt;5&lt;/a&gt; &lt;span data-paragraph-id="80078" data-sentence-id="80079" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;This court&lt;/span&gt; in Gaffneyobserved that with respect to statements supporting the credibility of a child-victim's out-of-&lt;span class="ldml-entity"&gt;court&lt;/span&gt; statements or in-trial testimony concerning a sexual crime:&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_80260" class="ldml-blockquote"&gt;&lt;span data-sentence-id="80260" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;... states that if scientific, technical, or other specialized knowledge will assist the trier of fact to understand the evidence or determine a fact in issue, a witness qualified as an expert may testify thereto in the form of opinion or otherwise.&lt;/span&gt; &lt;span data-sentence-id="80517" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See, e.g.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891833913" data-vids="891833913" class="ldml-reference" data-prop-ids="embeddedsentence_80587,sentence_80260"&gt;&lt;span class="ldml-refname"&gt;United States v. St. Pierre&lt;/span&gt;, &lt;span class="ldml-cite"&gt;812 F.2d 417&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;8th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;clinical psychologist's testimony as to certain traits and characteristics of sexually abused children as compared with those exhibited by child-victim was admissible&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889322665" data-vids="889322665" class="ldml-reference" data-prop-ids="embeddedsentence_80808,sentence_80260"&gt;&lt;span class="ldml-refname"&gt;State v. Moran&lt;/span&gt;, &lt;span class="ldml-cite"&gt;151 Ariz. 378&lt;/span&gt;, &lt;span class="ldml-cite"&gt;728 P.2d 248&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;in child molestation case, expert testimony that child-victim's behavioral characteristics, including recantation of sexual abuse by &lt;span class="ldml-entity"&gt;father&lt;/span&gt;, matched characteristics of other child-victims of sexual abuse was admissible to assist jury in explaining strange behavior of child-victim, although expert testimony calculated to tell jury that expert believed victim's earlier version of abuse was not admissible&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888388370" data-vids="888388370" class="ldml-reference" data-prop-ids="embeddedsentence_81264,sentence_80260"&gt;&lt;span class="ldml-refname"&gt;People v. Koon&lt;/span&gt;, &lt;span class="ldml-cite"&gt;724 P.2d 1367&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt; &lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;expert testimony by police psychologist about specific behavioral patterns of child incest victim admissible where expert witness did not render opinion as to whether child was truthful in report of assault or was actual victim of incest&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895622635" data-vids="895622635" class="ldml-reference" data-prop-ids="embeddedsentence_81559,sentence_80260"&gt;&lt;span class="ldml-refname"&gt;State v. Middleton&lt;/span&gt;, &lt;span class="ldml-cite"&gt;294 Or. 427&lt;/span&gt;, &lt;span class="ldml-cite"&gt;657 P.2d 1215&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;expert witness permitted to testify concerning the reaction of a typical child-victim of familial sex abuse and to offer opinion whether victim, who had been impeached by prior inconsistent statements, reacted in typical manner in making inconsistent statements&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;cf.&lt;/span&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890973533" data-vids="890973533" class="ldml-reference" data-prop-ids="embeddedsentence_81872,sentence_80260"&gt;&lt;span class="ldml-refname"&gt;People v. Hampton&lt;/span&gt;, &lt;span class="ldml-cite"&gt;746 P.2d 947&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;expert testimony concerning rape trauma syndrome admissible in sexual assault &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt; to corroborate testimony of victim with respect to late reporting of crime&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/blockquote&gt;&lt;p data-paragraph-id="82038" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="82038" data-sentence-id="82038" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891272422" data-vids="891272422" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Gaffney&lt;/span&gt;, &lt;span class="ldml-cite"&gt;769 P.2d at 1086–87&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="82067" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr_6" class="ldml-notemarker" id="note-fr_6"&gt;6&lt;/a&gt; &lt;span data-paragraph-id="82067" data-sentence-id="82068" class="ldml-sentence"&gt;Under the Fryetest, expert scientific testimony may be admitted if &lt;span class="ldml-quotation quote"&gt;"the thing from which the deduction is made &lt;span class="ldml-parenthetical"&gt;[is]&lt;/span&gt; sufficiently established to have gained general acceptance in the particular field in which it belongs."&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="82067" data-sentence-id="82288" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888523879" data-vids="888523879" class="ldml-reference" data-prop-ids="sentence_82068"&gt;&lt;span class="ldml-refname"&gt;Frye v. United States&lt;/span&gt;, &lt;span class="ldml-cite"&gt;293 F. 1013, 1014&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;D.C. Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;1923&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="82067" data-sentence-id="82347" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895131202" data-vids="895131202" class="ldml-reference" data-prop-ids="sentence_82347"&gt;&lt;span class="ldml-refname"&gt;Daubert v. Merrell Dow Pharm., Inc.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;509 U.S. 579&lt;/span&gt;, &lt;span class="ldml-cite"&gt;113 S.Ct. 2786&lt;/span&gt;, &lt;span class="ldml-cite"&gt;125 L.Ed.2d 469&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;U.S. Supreme Court&lt;/span&gt; held that the Fryetest was superseded by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_82347"&gt;&lt;span class="ldml-cite"&gt;Fed. R. Evid. 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
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